21-22108-shl         Doc 780        Filed 11/07/22 Entered 11/07/22 16:49:41            Main Document
                                                 Pg 1 of 89
                                     Hearing Date: November 10, 2022 at 2:00 p.m. (Prevailing Eastern Time)


 TOGUT, SEGAL & SEGAL LLP
 One Penn Plaza, Suite 3335
 New York, New York 10119
 (212) 594-5000
 Albert Togut
 Frank A. Oswald
 Bryan M. Kotliar
 Amanda C. Glaubach

 Attorneys for Stephen S. Gray,
 Not Individually But Solely in His Capacity
 as Chapter 11 Trustee

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------x
 In re:                                                          :
                                                                 :     Chapter 11
 96 Wythe Acquisition, LLC,                                      :
                                                                 :     Case No. 21-22108 (SHL)
                                     Debtor.                     :
                                                                       Related Docket Nos. 752 & 771
                                                                 :
-----------------------------------------------------------------x

                        NOTICE OF FILING OF REVISED
                  ORDER (A) APPROVING BID PROCEDURES FOR
              THE SALE OF THE DEBTOR’S ASSETS; (B) ESTABLISHING
         PROCEDURES TO DESIGNATE A STALKING HORSE BIDDER AND
             ENTER INTO A STAKLING HORSE AGREEMENT WITH BID
       PROTECTIONS; (C) SCHEDULING AN AUCTION AND SALE HEARING;
         (D) APPROVING THE FORM AND MANNER OF NOTICE THEREOF;
         AND (E) APPROVING PROCEDURES FOR THE ASSUMPTION AND
            ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND
             UNEXPIRED LEASES; AND (F) GRANTING RELATED RELIEF

          PLEASE TAKE NOTICE that on October 21, 2022, Stephen S. Gray, not

 individually but solely in his capacity as the Chapter 11 trustee (the “Trustee”) of the

 estate of 96 Wythe Acquisition, LLC, by and through his undersigned counsel, filed and

 served the Chapter 11 Trustee’s Motion for Entry Of Orders (I)(A) Approving Bid Procedures

 For The Sale Of Substantially All Of The Debtor’s Assets; (B) Establishing Procedures To

 Designate A Stalking Horse Bidder and Enter Into a Stalking Horse Agreement with Bid

 Protections; (C) Scheduling an Auction and Sale Hearing; (D) Approving The Form and

 Manner of Notice Thereof; (E) Approving Procedures For Assumption and Assignment of
21-22108-shl      Doc 780      Filed 11/07/22 Entered 11/07/22 16:49:41              Main Document
                                            Pg 2 of 89



Certain Executory Contracts and Unexpired Leases; and (F) Granting Related Relief; and

(II)(A) Approving the Sale Free and Clear of All Liens, Claims, Interests, and Encumbrances;

(B)Authorizing the Assumption and Assignment of Executory Contracts and Unexpired Leases;

and (C) Granting Related Relief [Docket No. 752] (the “Motion”), which included a

proposed form of order attached thereto as Exhibit A (the “Original Proposed Order”).1

        PLEASE TAKE FURTHER NOTICE that the Trustee hereby files a revised

proposed order approving the Motion, a copy of which is attached hereto as Exhibit A

(the “Revised Proposed Order”). A redline showing the changes to the Original

Proposed Order as set forth in the Revised Proposed Order is attached hereto as Exhibit

B.

                PLEASE TAKE FURTHER NOTICE that a hearing to consider approval

of the Motion will be held before the Honorable Sean H. Lane, United States

Bankruptcy Judge, via Zoom for Government, on November 10, 2022 (the “Hearing

Date”) at 2:00 p.m. (prevailing Eastern Time). Those wishing to appear before the

Court at the Hearing, must register their appearance utilizing the Electronic

Appearance portal located on the Court's website: https://ecf.nysb.uscourts.gov/cgi-

bin/nysbAppearances.pl. Appearances must be entered no later than 4:00 p.m.

(Prevailing Eastern Time) one business day before the hearing.

                                  [Concludes on following page]




1
     Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in
     the Motion.


                                                   2
21-22108-shl   Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41     Main Document
                                       Pg 3 of 89




      PLEASE TAKE FURTHER NOTICE that, you may also obtain copies of any

pleadings by visiting the Court’s website at https://www.nysb.uscourts.gov in

accordance with the procedures and fees set forth therein.

DATED: November 7, 2022
       New York, New York

                                        STEPHEN S. GRAY
                                        Not Individually But Solely in His
                                        Capacity as Chapter 11 Trustee
                                        By His Attorneys,
                                        TOGUT, SEGAL & SEGAL LLP
                                        By:

                                        /s/ Frank A . Oswald
                                        ALBERT TOGUT
                                        FRANK A. OSWALD
                                        BRYAN M. KOTLIAR
                                        AMANDA C. GLAUBACH
                                        One Penn Plaza, Suite 3335
                                        New York, New York 10119
                                        (212) 594-5000




                                           3
21-22108-shl   Doc 780   Filed 11/07/22 Entered 11/07/22 16:49:41   Main Document
                                      Pg 4 of 89



                                   EXHIBIT A

                             Revised Proposed Order
21-22108-shl        Doc 780       Filed 11/07/22 Entered 11/07/22 16:49:41          Main Document
                                               Pg 5 of 89



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         :   Chapter 11
                                                               :
96 WYTHE ACQUISITION LLC,                                      :   Case No. 21-22108 (SHL)
                                                               :
                                       Debtor.                 :
                                                               :
---------------------------------------------------------------x

                 ORDER (A) APPROVING BID PROCEDURES FOR
             THE SALE OF THE DEBTOR’S ASSETS; (B) ESTABLISHING
        PROCEDURES TO DESIGNATE A STALKING HORSE BIDDER AND
            ENTER INTO A STAKLING HORSE AGREEMENT WITH BID
      PROTECTIONS; (C) SCHEDULING AN AUCTION AND SALE HEARING;
        (D) APPROVING THE FORM AND MANNER OF NOTICE THEREOF;
        AND (E) APPROVING PROCEDURES FOR THE ASSUMPTION AND
           ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND
            UNEXPIRED LEASES; AND (F) GRANTING RELATED RELIEF

                 Upon the motion (the “Motion”)1 of Stephen S. Gray, not individually but

solely in his capacity as the Chapter 11 Trustee (the “Trustee”) of the estate of 96 Wythe

Acquisition LLC (the “Debtor”) in the above-captioned case (the “Chapter 11 Case”), for

entry of an order (this “Bid Procedures Order”), (a) approving the bid procedures

attached hereto as Exhibit 1 (the “Bid Procedures”) in connection with the Sale of the

Debtor’s Assets; (b) establishing procedures for the Trustee to designate a Stalking

Horse Bidder or Stalking Horse Budders with respect to certain or all of the Assets and

to enter into a Stalking Horse Agreement or Stalking Horse Agreements with a Break-

Up Fee and Expense Reimbursement (each as defined below, and together the “Bid

Protections”); (c) establishing certain dates and deadlines for the sale process, including

scheduling an Auction and the Sale Hearing; (d) approving the form and manner of



1
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in
    the Motion or the Bid Procedures (as defined below), as applicable.
21-22108-shl      Doc 780      Filed 11/07/22 Entered 11/07/22 16:49:41                Main Document
                                            Pg 6 of 89



notice of the Auction and Sale Hearing, substantially in the form attached hereto as

Exhibit 2 (the “Sale Notice”); (e) approving procedures for the assumption and

assignment of executory contracts and unexpired leases in connection with the Sale (the

“Assumption and Assignment Procedures”), including the form and manner of notice

of contract assumption, substantially in the form attached hereto as Exhibit 3 (the

“Contract Assumption Notice”); and (f) granting related relief; and it appearing that

this Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334

and the Amended Standing Order; and upon the Declaration of Emilio Amendola in

Support of Chapter 11 Trustee’s Bid Procedure Motion [Docket No. 771] (the

“Amendola Declaration”), filed on November 2, 2022; and it appearing that venue of

the Chapter 11 Case and the Motion in this district is proper pursuant to 28 U.S.C. §§

1408 and 1409; and it appearing that this matter is a core proceeding pursuant to 28

U.S.C. § 157(b); and the Court having considered the Amendola Declaration and

having heard the statements of counsel with respect to the Motion at a hearing (the

“Hearing”); and this Court having determined that the relief requested in the Motion

with respect to the entry of this Bid Procedures Order is in the best interests of the

Debtor, the estate, its creditors and other parties in interest; and it appearing that

proper and adequate notice of the Motion has been given and that, except as otherwise

ordered herein, no other or further notice is necessary; and after due deliberation

thereon; and good and sufficient cause appearing therefor:

                IT IS HEREBY FOUND AND DETERMINED THAT:2

        A.      This Court has jurisdiction to hear and determine the Motion and to


2
    The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions
    of law pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy
    Rule 9014. To the extent that any of the following findings of fact constitute conclusions of law, they



                                                    2
21-22108-shl     Doc 780       Filed 11/07/22 Entered 11/07/22 16:49:41                Main Document
                                            Pg 7 of 89



grant the relief set forth herein pursuant to 28 U.S.C. §§ 157 and 1334. This is a core

proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before this Court

pursuant to 28 U.S.C. §§ 1408 and 1409.

       B.      The Trustee’s proposed notice of the Auction, the Sale and the other

matters to be considered at the Sale Hearing pursuant to the Sale Notice is

appropriate and reasonably calculated to provide all interested parties with timely

and proper notice of the Bid Procedures, Auction, Sale Hearing, and Sale.

       C.      The Bid Procedures are fair, reasonable, appropriate and are designed to

maximize the value of the Assets and recoveries to the Debtor’s estate, its creditors,

and other parties in interest.

       D.      The Trustee has demonstrated compelling and sound business

justifications for (i) the ability to designate a Stalking Horse Bidder or Stalking Horse

Bidders, and to enter into a Stalking Horse Agreement or Stalking Horse Agreements

with Bid Protections, which include (a) a break-up fee in the range of 1% to 3% in the

Trustee’s discretion, in consultation with the Consultation Parties, of the cash

consideration to be paid (the “Break-Up Fee”) and (b) reimbursement of reasonable,

documented and necessary out-of-pocket expenses incurred in connection with such

Stalking Horse Bid not to exceed $150,000 (the “Expense Reimbursement”) and (ii) the

Assumption and Assignment Procedures. The foregoing are fair, reasonable, and

appropriate under the circumstances.

       E.      The Sale Notice is appropriate and reasonably calculated to provide all

interested parties with timely and proper notice of the Bid Procedures, the Auction,



   are adopted as such. To the extent any of the following conclusions of law constitute findings of fact,
   they are adopted as such.



                                                    3
21-22108-shl        Doc 780   Filed 11/07/22 Entered 11/07/22 16:49:41      Main Document
                                           Pg 8 of 89



the Sale Hearing, and the Sale free and clear of any liens, claims, interests, or

encumbrances pursuant to section 363(f) of the Bankruptcy Code (with such liens,

claims, interests, or encumbrances attaching to the proceeds of any such sale, which

shall be first applied to satisfy the Secured Lender in cash in full), and any and all

objection deadlines related thereto, and no other or further notice shall be required for

the Motion.

       F.      Based on the record before the Court, the Trustee has demonstrated

good and sufficient basis for the Court to approve the Motion as it relates to the entry

of this Bid Procedures Order.

               IT IS HEREBY ORDERED THAT:

               1.       The Motion is GRANTED to the extent set forth herein.

               2.       Any and all objections, including Toby Moskovits’ and Michael

Lichtenstein’s Limited Objection to Chapter 11 Trustee’s Sale Procedures Motion [Docket No.

772], filed on November 3, 2022, made relating to the Bid Procedures and the Motion

that have not been withdrawn or resolved prior to or at the Hearing are hereby

overruled on the merits with prejudice.

               3.       The Bid Procedures attached hereto as Exhibit 1 are hereby

approved in all respects.

               4.       Subject to the terms of this Order and the Bid Procedures, the

Trustee may, with the reasonable consent of the Secured Lender, at closing of the sale of

the Assets subject to the Stalking Horse Bid, make certain payments to the Stalking

Horse Bidder in consideration of its tendering the Stalking Horse Bid, including (a) a

break-up fee in the range of 1% to 3% in the Trustee’s discretion, in consultation with

the Consultation Parties, of the cash consideration to be paid (the “Break-Up Fee”) and

(b) reimbursement of reasonable, documented and necessary out-of-pocket expenses

                                               4
21-22108-shl        Doc 780   Filed 11/07/22 Entered 11/07/22 16:49:41      Main Document
                                           Pg 9 of 89



incurred in connection with such Stalking Horse Bid not to exceed $150,000 (the

“Expense Reimbursement” and, together with the Break-Up Fee, the “Bid Protections”).

               5.       If the Trustee designates a Stalking Horse Bidder or Stalking Horse

Bidders with respect to certain or all of the Assets, the Trustee shall promptly upon

execution of a Stalking Horse Agreement (and in no event more than one (1) calendar

day following such execution) shall file with the Court, and serve on the applicable

parties, a notice that contains: (a) the identity of the Stalking Horse Bidder or Stalking

Horse Bidders; (b) any connections the Stalking Horse Bidder or Stalking Horse

Bidders have with the Trustee, the Debtor’s Principals, including Toby Moskovits and

Michael Lichtenstein, or any affiliates including, but not limited to Northside

Acquisition, LLC, etc.; (c) the material terms of the Stalking Horse Bid, including the

Stalking Horse Agreement and the Bid Protections, and attaches the proposed Stalking

Horse Agreement (the “Notice of Stalking Horse Bidder”).

               6.       Any objections (each, a “Stalking Horse Objection”) to the

designation of a Stalking Horse Bidder, including any Bid Protections pursuant to the

terms and provisions of a Stalking Horse agreement, must (a) be in writing; (b) conform

to the applicable provisions of the Bankruptcy Rules, the Local Rules, and any orders of

this Court; (c) state with particularity the legal and factual basis for the objection and

the specific grounds therefor; and (d) be filed with the Court within ten (10) calendar

days after the filing of the relevant Notice of Stalking Horse Bidder, and served on

(i) counsel to the Trustee, Togut, Segal & Segal LLP, Attn.: Frank A. Oswald, Esq.

(frankoswald@teamtogut.com) and Amanda C. Glaubach, Esq.

(aglaubach@teamtogut.com); and (ii) co-counsel to the Secured Lender, Kramer Levin

Naftalis & Frankel LLP, Attn.: Adam C. Rogoff, Esq. (Arogoff@kramerlevin.com) and



                                               5
21-22108-shl        Doc 780   Filed 11/07/22 Entered 11/07/22 16:49:41       Main Document
                                          Pg 10 of 89



Nelson Mullins Riley & Scarborough, LLP, Attn.: Lee B. Hart, Esq.

(lee.hart@nelsonmullins.com).

               7.       If a timely Stalking Horse Objection is filed and served in

accordance with the preceding paragraph, the proposed Bid Protections will not be

deemed approved until the Stalking Horse Objection is resolved by agreement of the

objecting party, the Trustee, and the Secured Lender, or by order of the Court.

               8.       If no timely Stalking Horse Objection is filed and served with

respect to an applicable Stalking Horse Agreement in accordance with the Bid

Procedures, the Bid Protections shall be deemed approved without further order of the

Court upon the expiration of the objection deadline.

               9.       No other bidder, nor any party making a credit bid (irrespective of

whether it is a Stalking Horse Bidder) will be entitled to any Bid Protections or any

other expense reimbursement, break-up fee, termination fee or any other similar fee or

payment; provided, that neither the Bid Procedures Order nor the Bid Procedures shall

impair or prejudice the rights of the Secured Lender to collect its fees in accordance

with the Loan Agreement and related documents.

               10.      The Sale Notice substantially in the form attached hereto as

Exhibit 2 is approved. As soon as reasonably practicable, but in no event later than the

third (3rd) business day after entry of this Bid Procedures Order, the Trustee shall serve

or shall cause to be served the Sale Notice by e-mail (where available) or first-class mail

postage prepaid (if e-mail is not available) upon: (a) all entities reasonably known to

have expressed an interest in the acquisition, directly or indirectly, of the Assets; (b) all

entities known to have asserted any claims, liens, interests, or encumbrances on any of

the Assets; (c) the Office of the United States Trustee for the Southern District of New

York, Region 2 (the “U.S. Trustee”); (d) counsel to the Secured Lender; (e) the Internal

                                               6
21-22108-shl    Doc 780     Filed 11/07/22 Entered 11/07/22 16:49:41         Main Document
                                        Pg 11 of 89



Revenue Service; (f) all parties to executory contracts to be assumed and assigned, or

rejected as part of the Sale; (g) all other parties who have requested notice pursuant to

Bankruptcy Rule 2002 as of the date hereof.

               11.    The procedures set forth herein regarding the assumption and

assignment of the executory contracts to be assumed by the Trustee pursuant to section

365(b) of the Bankruptcy Code and assigned to a Successful Bidder or Successful

Bidders in connection with the Sale (the “Assumption Procedures”) are hereby

approved. The Contract Assumption Notice substantially in the form attached hereto

as Exhibit 3 is approved.

               12.    The Assumption Procedures shall govern the assumption and

assignment of all of the Trustee’s executory contracts and unexpired leases to be

assumed and assigned in connection with the Sale (each, an “Assigned Contract,” and,

collectively, the “Assigned Contracts”), subject to the payment of any payments

necessary to cure any defaults arising under any Assigned Contract (the “Cure

Payments”):

               a. Contract Assumption Notice. No later than three (3) business days
                  following entry of the Bid Procedures Order, (the “Assumption and
                  Assignment Service Deadline”), the Trustee shall serve a notice of
                  contract assumption in substantially the form of the Contract
                  Assumption Notice via first-class mail (or email where available) on:
                  (a) all counterparties to all potential Assigned Contracts; (b) all entities
                  reasonably known to have expressed an interest in the acquisition,
                  directly or indirectly, of the Assets; (c) all entities known to have
                  asserted any claims, liens, interests or encumbrances on any of the
                  Assets; (d) the Office of the United States Trustee for the Southern
                  District of New York, Region 2; (e) counsel to Benefit Street; (f) the
                  Internal Revenue Service; (g) all other parties who have requested
                  notice pursuant to Bankruptcy Rule 2002 as of the date hereof, and
                  provide a copy of the same to any Stalking Horse Bidder and the
                  Consultation Parties, which copy may be provided via email. The
                  Contract Assumption Notice shall inform each recipient of the timing
                  and procedures relating to the potential assumption and assignment of
                  the Assigned Contracts to a Successful Bidder or Successful Bidders
                  upon entry of the Sale Order, and, to the extent applicable, (i) Trustee’s

                                              7
21-22108-shl    Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41        Main Document
                                       Pg 12 of 89



                  good faith estimates of the Cure Payments (if any) required in
                  connection with the executory contract or unexpired lease, as
                  applicable, (ii) whether the potential Assigned Contract is anticipated
                  to be assumed and assigned to any Stalking Horse Bidder in
                  connection with a Stalking Horse Bid; (iii) the Cure Objection
                  Deadline; (iv) the Sale Objection Deadline; and (v) the Supplemental
                  Sale Objection Deadline; provided, however, that service of a Contract
                  Assumption Notice does not constitute an admission that any contract
                  is executory or that the stated Cure Payment related to any contract or
                  unexpired lease constitutes a claim against the estate or a right against
                  any Stalking Horse Bidder (all rights with respect thereto being
                  expressly reserved). Further, the inclusion of a contract or unexpired
                  lease, as applicable, on the Contract Assumption Notice is not a
                  guarantee that such contract or unexpired lease, as applicable, will
                  ultimately be assumed and assigned.

               b. Cure Payments and Adequate Assurance of Future Performance. The
                  payment of the applicable Cure Payments by any Successful Bidder
                  shall (i) effect a cure of all defaults existing thereunder and (ii)
                  compensate for any actual pecuniary loss to such counterparty
                  resulting from such default.

               c. Additions. The Trustee may also designate additional executory
                  contracts or unexpired leases as agreements to be assumed by the
                  Trustee and assigned to a Successful Bidder (the “Additional Assigned
                  Contracts”) until consummation of the Sale. Following the addition of
                  an Additional Assigned Contract, the Trustee shall as soon as
                  reasonably practicable thereafter serve a Contract Assumption Notice
                  on each of the counterparties to such Additional Assigned Contracts
                  and their counsel of record, if any, indicating (i) that the Trustee
                  intends to assume and assign the counterparty’s executory contract or
                  unexpired lease, as applicable, to the applicable Successful Bidder, and
                  (ii) the corresponding Cure Payment.

               d. Eliminations. The Trustee may remove any executory contract or
                  unexpired lease, as applicable, to be assumed by the Trustee and
                  assigned to a Successful Bidder (the “Eliminated Agreements”) until
                  consummation of the Sale. Following the removal of an Eliminated
                  Agreement, the Trustee shall, as soon as reasonably practicable
                  thereafter serve a notice (a “Removal Notice”) on each of the impacted
                  counterparties and their counsel of record, if any, indicating that the
                  Trustee no longer intends to assign the counterparty’s contract or
                  unexpired lease, as applicable, to the applicable Successful Bidder in
                  connection with the Sale.

               e. Supplemental Contract Assumption Notice. Although the Trustee
                  intends to make a good faith effort to identify all Assigned Contracts
                  that may be assumed and assigned in connection with the Sale, the
                  Trustee may discover certain executory contracts inadvertently

                                             8
21-22108-shl    Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41       Main Document
                                       Pg 13 of 89



                  omitted from the Assigned Contracts list or Successful Bidders may
                  identify other executory contracts that they desire to assume and
                  assign in connection with a Sale. Accordingly, the Trustee reserves the
                  right, but only in accordance with the Successful Bidder Purchase
                  Agreement (as defined in the Bid Procedures) or any Stalking Horse
                  Agreement, as applicable, or as otherwise agreed by the Trustee and
                  the Successful Bidder or Successful Bidders, any time after the closing
                  of the Sale and before the deadline for designation of additional
                  Assigned Contracts or removal of potentially Assigned Contracts set
                  forth in the Successful Bidder Purchase Agreement or any Stalking
                  Horse Agreement, to (i) supplement the list of Assigned Contracts
                  with previously omitted executory contracts, (ii) remove Assigned
                  Contracts from the list of executory contracts ultimately selected as
                  Assigned Contracts that a Successful Bidder proposed be assumed and
                  assigned to it in connection with a Sale, or (iii) modify the previously
                  stated Cure Payment associated with any Assigned Contracts. In the
                  event the Trustee exercises any of these reserved rights, the Trustee
                  will promptly serve a supplemental notice of contract assumption (a
                  “Supplemental Assumption Notice”) on each of the counterparties to
                  such contracts and their counsel of record, if any, and the Consultation
                  Parties; provided, however, the Trustee may not add an executory
                  contract to the list of Assigned Contracts that has been previously
                  rejected by the Trustee by order of the Court. Each Supplemental
                  Assumption Notice will include the same information with respect to
                  the list of Assigned Contracts that was included in the Contract
                  Assumption Notice, or in the event of removal, information required
                  in a Removal Notice.

               f. Objections. Objections, if any, to the proposed assumption and
                  assignment or the Cure Payment proposed with respect thereto, must
                  (i) be in writing, (ii) comply with the applicable provisions of the
                  Bankruptcy Rules and the Local Rules, (iii) state with specificity the
                  nature of the objection and, if the objection pertains to the proposed
                  amount of the Cure Payment, the correct cure amount alleged by the
                  objecting counterparty, together with any applicable and appropriate
                  documentation in support thereof, and (iv) be filed with the Court and
                  served upon, so as to be actually received by counsel to the Trustee
                  and counsel to the applicable Successful Bidder (if such counsel is
                  known), as applicable, on or before December 12, 2022 at 5:00 p.m.
                  (prevailing Eastern Time) (the “Cure Objection Deadline”), or such
                  deadline set forth in the applicable Supplemental Assumption Notice.

                  The deadline for objections to the proposed assumption and
                  assignment of an Assigned Contract solely with respect to (i) the
                  identity of the Successful Bidder or Successful Bidders or (ii) adequate
                  assurance of future performance provided by the Successful Bidder or
                  Successful Bidders shall be December 16, 2022 at 4:00 p.m. (prevailing
                  Eastern Time) (the “Supplemental Sale Objection Deadline”).


                                             9
21-22108-shl    Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41         Main Document
                                       Pg 14 of 89



               13.   Any party failing to timely file an objection to the proposed Cure

Payment, the proposed assumption and assignment of an Assigned Contract or

Additional Assigned Contract listed on a Contract Assumption Notice or Supplemental

Assumption Notice, or the Sale is deemed to have consented to (a) such Cure Payment,

(b) the assumption and assignment of such Assigned Contract or Additional Assigned

Contract (including the adequate assurance of future payment), (c) the related relief

requested in the Motion, and (d) the Sale. Such party shall be forever barred and

estopped from objecting to the Cure Payments, the assumption and assignment of the

Assigned Contract, the Additional Assigned Contract, adequate assurance of future

performance, the relief requested in the Motion, whether applicable law excuses such

counterparty from accepting performance by, or rendering performance to, the

Successful Bidder or Successful Bidders for purposes of section 365(c)(1) of the

Bankruptcy Code and from asserting any additional cure or other amounts against the

Trustee and the Successful Bidder or Successful Bidders, as applicable, with respect to

such party’s Assigned Contract or Additional Assigned Contract.

               14.   Unless otherwise provided in the Sale Order, the Trustee shall have

no liability or obligation with respect to defaults relating to the Assigned Contracts

arising, accruing, or relating to a period on or after the effective date of assignment.

               15.   At the Sale Hearing, the Trustee shall (i) present evidence necessary

to demonstrate adequate assurance of future performance by the Successful Bidder or

the Stalking Horse Bidder, as applicable; and (ii) request entry of an order granting

approval of the assumption and assignment of any Assigned Contracts to the Successful

Bidder or the Stalking Horse Bidders, as applicable.




                                             10
21-22108-shl    Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41          Main Document
                                       Pg 15 of 89



               16.   The Auction is scheduled for 11:00 a.m. (ET) on December 14, 2022

to be conducted at a location to be determined, or at another place and time designated

by the Trustee in a prior written notice emailed to all Qualified Bidders.

               17.   The deadline for objecting to the Sale of the Assets shall be 5:00

p.m. (ET) on December 12, 2022 (the “Sale Objection Deadline”), and the supplemental

objection deadline for the Sale of the Assets to the Successful Bidder or Successful

Bidders shall be 4:00 p.m. (ET) on December 16, 2022 (the “Supplemental Sale Objection

Deadline”). All objections to the Sale must be: (a) in writing; (b) state with specificity

the basis of the objection, (c) signed by counsel or attested to by the objecting party;

(d) in conformity with the Bankruptcy Rules and the Local Rules; (e) filed with the

Court; and (f) served on (i) the U.S. Trustee, (ii) counsel for the Trustee, Togut, Segal &

Segal LLP, Attn.: Frank A. Oswald, Esq. (frankoswald@teamtogut.com) and Amanda C.

Glaubach, Esq. (aglaubach@teamtogut.com), and (iii) co-counsel to the Secured Lender,

Kramer Levin Naftalis & Frankel LLP, Attn.: Adam C. Rogoff, Esq.

(arogoff@kramerlevin.com) and Nelson Mullins Riley & Scarborough, LLP, Attn.: Lee B.

Hart, Esq. (lee.hart@nelsonmullins.com) so as to be actually received on or before the

Sale Objection Deadline.

               18.   Failure to object to the relief requested in the Motion with respect

to the Sale by the Sale Objection Deadline shall be deemed a waiver of the right to object

to the Sale, and any party failing to object shall be forever barred from objecting to the

relief requested in the Motion with respect to the Sale.

               19.   The Sale Hearing shall be held in this Court at 2:00 p.m. (ET) on

December 20, 2022. The Sale Hearing may be adjourned or continued from time to time

by the Court or the Trustee without further notice other than an announcement in open

court or as indicated in any notice or hearing agenda that is filed with the Court.

                                             11
21-22108-shl    Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41        Main Document
                                       Pg 16 of 89



               20.   Notwithstanding the possible applicability of Bankruptcy Rules

6004(h), 6006(d), 7062, or 9014 or any applicable provisions of the Bankruptcy Rules or

the Local Rules or otherwise stating the contrary, the terms of and conditions of this Bid

Procedures Order shall be immediately effective and enforceable upon its entry, and

any applicable stay of the effectiveness and enforceability of this Bid Procedures Order

is hereby waived.

               21.   Prior to filing and serving the Sale Notice and the Contract

Assumption Notice, the Trustee may fill in any missing dates and other information,

conform the provisions thereof to the provisions of this Bid Procedures Order, and

make such other, non-material changes as the Trustee deems necessary or appropriate.

               22.   The Trustee is authorized and empowered to take all actions

necessary to effectuate the relief granted in this Bid Procedures Order.

               23.   This Court retains jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, or enforcement of this Bid

Procedures Order.

 Dated: ______________, 2022
        New York, New York
                                            HONORABLE SEAN H. LANE
                                            UNITED STATES BANKRUPTCY JUDGE




                                            12
21-22108-shl   Doc 780   Filed 11/07/22 Entered 11/07/22 16:49:41   Main Document
                                     Pg 17 of 89



                                     Exhibit 1

                                The Bid Procedures
21-22108-shl        Doc 780       Filed 11/07/22 Entered 11/07/22 16:49:41              Main Document
                                              Pg 18 of 89



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         :   Chapter 11
                                                               :
96 WYTHE ACQUISITION LLC,                                      :   Case No. 21-22108 (SHL)
                                                               :
                                       Debtor.                 :
                                                               :
---------------------------------------------------------------x

                                            BID PROCEDURES

    I.       Overview

       On February 23, 2021 (the “Petition Date”), 96 Wythe Acquisition LLC (the
“Debtor”) commenced the above-captioned case (the “Chapter 11 Case”) by filing a
voluntary petition for relief under title 11 of the United States Code (the “Bankruptcy
Code”) in the United States Bankruptcy Court for the Southern District of New York
(the “Court”). On May 31, 2022, the Court approved the appointment of Stephen S.
Gray as the Chapter 11 Trustee (the “Trustee”) for the Debtor.1

       On [______] [__], 2022, the Court entered an order [Docket No. [__]] (the “Bid
Procedures Order”), approving these bid procedures (the “Bid Procedures”) and certain
other relief set forth in the Trustee’s motion [Docket No. [__]].2 These Bid Procedures set
forth the process by which the Trustee is authorized to solicit bids for and conduct an
auction (the “Auction”) for the sale (the “Sale”) of the Debtor’s assets (the “Assets”)
pursuant to section 363 of the Bankruptcy Code. In addition, at any time, the Trustee
may, but is not required to, designate one or more stalking horse bidder(s) with respect
to certain or all of the Assets (each, a “Stalking Horse Bidder”).

       Approval of the Sale may be considered by the Court together with or separate
from any hearing to confirm a chapter 11 plan of liquidation for the Debtor, and the
closing of the Sale (the “Sale Closing”) may be consummated pursuant to a chapter 11
plan or outside of a plan pursuant to sections 363 and 365 of the Bankruptcy Code.




1
    Following evidentiary hearings conducted on May 17 and 25, 2022 and post-hearing oral argument
    on May 26, on May 27, 2022 the Court entered its Order Granting Motions to Appoint a Chapter 11
    Trustee [Docket No. 591]. On May 31, 2022, the United States Trustee filed his Notice of Appointment of
    Chapter 11 Trustee [Docket No. 592] and filed an application for an order approving the appointment
    of Stephen S. Gray, as the Chapter 11 Trustee (the “Trustee”) of the estate of the Debtor [Docket No.
    593].
2
    Capitalized terms used but not otherwise defined herein, shall have the meanings ascribed to such
    terms in the Bid Procedures Order.
21-22108-shl      Doc 780       Filed 11/07/22 Entered 11/07/22 16:49:41                Main Document
                                            Pg 19 of 89



    II.     Description of the Assets

       The Trustee is offering for sale the Assets, which include substantially all of the
Debtor’s real and personal property, including, without limitation, the 10-story, 147-
room hotel located at 96 Wythe Avenue, Brooklyn, NY 11249 (the “Hotel”), and all
lands, estates, development rights, easements, improvements, rights-of-way or use,
improvements, equipment, fixtures, leases, rents, awards, refunds, rebates, credits,
agreements, contracts, certificates, instruments, franchises, permits, licenses, plans,
specifications and other documents relating to the occupation, construction,
management or operation of the Hotel and any part thereof, goodwill, books and
records and all other general intangibles relating to or used in connection with the
operation of the Hotel, and inventory and accounts receivables.

        The ownership of certain intellectual property used at or in connection with the
Assets is subject to dispute by the Debtor’s former management company and insiders.
Potential bidders may include such intellectual property in the Assets they seek to
purchase; however, in light of the dispute, the Trustee will deliver only the estate’s
right, title and interest in and to such intellectual property, if any, without any
representations or warranties whatsoever unless this dispute is resolved by the Court or
otherwise prior to the Auction.

       Except as otherwise provided in a Successful Bidder Purchase Agreement (as
defined below) or an order of the Court (including any exhibits or schedules thereto), all
of the Debtor’s right, title and interest in and to the Assets subject thereto shall be sold
free and clear of any liens, claims, interests, and encumbrances (collectively, the
“Interests”) to the maximum extent permitted by sections 363 and 1146 of the
Bankruptcy Code, with such Interests to attach to the proceeds of the Sale of the Assets
paid directly to the Trustee and Secured Lender at closing (through a title or escrow
agent as applicable) in accordance with the Secured Lender Settlement,3 and the portion
of which proceeds paid to the Trustee to be held by the Trustee pending the distribution
of such proceeds to holders of other liens in accordance with the priority of their
respective liens and otherwise subject to orders entered by the Court in the Chapter 11
Case, including without limitation the Secured Lender Settlement) with the same
validity and priority as such Interests applied against the Assets.

    III.    Bid Process

       The Trustee and his advisors, in consultation with the Consultation Parties (as
defined below) shall (a) determine whether any person is a Qualified Bidder, (b)
coordinate the efforts of Potential Bidders in conducting their due diligence
investigations, (c) receive offers from Potential Bidders, (d) negotiate any offers made to
purchase the Assets; and (e) determine if any Qualified Bidder should be selected as a
Stalking Horse Bidder in accordance with the procedures set forth below.


3
    The “Secured Lender Settlement” refers to that certain Settlement Agreement, dated as of September
    13, 2022 (as may be amended, modified, or restated) between the Trustee and the Secured Lender, a
    copy of which is attached as an exhibit to the Chapter 11 Trustee’s Application to Approve Settlement
    Agreement with Benefit Street Partners Operating Partnership, L.P., filed on September 13, 2022 [Docket
    No. 679].


                                                     2
21-22108-shl           Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41                Main Document
                                              Pg 20 of 89



      IV.          Key Dates for Potential Bidders

       The Bid Procedures provide interested parties with the opportunity to qualify for
and participate in the Auction and to submit competing bids for the Assets. The
Trustee and his advisors shall assist Potential Bidders in conducting their respective
due diligence investigations and shall accept Bids (as defined below) until December 2,
2022 at 4:00 p.m. (prevailing Eastern Time) (the “Bid Deadline”) for the Assets.

      All information (and bids) that must be provided under these Bid Procedures
must be provided to the Trustee’s Co-Brokers, A&G Real Estate Partners, LLC, Attn.:
Emilio Amendola (emilio@agrep.com) and Eastdil Secured, LLC, Attn.: Andy
Wimsatt (awimsatt@eastdilsecured.com) with a copy to:

            (i)       The Trustee, Stephen S. Gray (ssg@grayandcompanyllc.com);

            (ii)      counsel to the Trustee, Togut, Segal & Segal LLP, Attn.: Frank A. Oswald,
                      Esq. (frankoswald@teamtogut.com) and Amanda C. Glaubach, Esq.
                      (aglaubach@teamtogut.com); and


            (iii)     financial advisor to the Trustee, CohnReznick LLP, Attn.: Chris Creger
                      (Chris.Creger@CohnReznick.com) and Molly Jobe
                      (Molly.Jobe@CohnReznick.com).

            The key dates for the Sale process are as follows:4

                      Key Event                                          Deadline

    Bid Deadline                                  Monday, December 12, 2022 at 5:00 p.m. (ET)

    Sale Objection Deadline                       Monday, December 12, 2022 at 5:00 p.m. (ET)

    Proposed Assumption / Cure                    Monday, December 12, 2022 at 5:00 p.m. (ET)
    Amounts Objection Deadline

    Deadline for Trustee to notify                Tuesday, December 13, 2022 at 12:00 p.m. (ET)
    bidders of their status as Qualified
    Bidders

    Auction (if necessary)                        Wednesday, December 14, 2022 at 11:00 a.m.
                                                  (ET)

    File Notice of Successful Bidder              Thursday, December 15, 2022 at 4:00 p.m. (ET)

    Supplemental Sale Objection                   Friday, December 16, 2022 at 4:00 p.m. (ET)
    Deadline

4
      The Trustee reserves the right to modify the deadlines set forth herein (in consultation with the
      Consultation Parties).


                                                       3
21-22108-shl    Doc 780     Filed 11/07/22 Entered 11/07/22 16:49:41      Main Document
                                        Pg 21 of 89



                Key Event                                   Deadline

 Adequate Assurance of Future            Friday, December 16, 2022 at 4:00 p.m. (ET)
 Performance Objection Deadline

 Sale Briefing and any Replies           Monday, December 19, 2022 at 12:00 p.m. (ET)

 Sale Hearing                            Tuesday, December 20, 2022 at 2:00 p.m. (ET)

 Deadline for Sale Closing               Friday, December 30, 2022 at [____] [__].m.

   V.      Due Diligence

        A. Access to Diligence Materials

                  To participate in the bidding process and to receive access to due
           diligence (the “Diligence Materials”), a party, other than the Secured Lender,
           must submit to the Trustee (i) an executed confidentiality agreement in such a
           form reasonably satisfactory to the Trustee, unless such an agreement has
           been previously executed and (ii) reasonable evidence demonstrating the
           party’s financial capability to consummate a Sale, in cash, as reasonably
           determined by the Trustee. A party that qualifies for access to Diligence
           Materials pursuant to the prior sentence shall be a “Potential Bidder.” For the
           avoidance of doubt, the Secured Lender shall have access to Diligence
           Materials.

                   The Trustee will afford any Potential Bidder the time and opportunity
           to conduct reasonable due diligence, as determined by the Trustee, including
           access to the electronic data room and other information that a Potential
           Bidder may reasonably request; provided, however, that the Trustee shall not be
           obligated to furnish any due diligence information after the applicable Bid
           Deadline to any party that has not submitted a Qualified Bid. The availability
           of additional due diligence to a Qualified Bidder will cease on the Auction
           except in the sole discretion of the Trustee; provided, however, that any
           Successful Bidder shall be permitted to continue to conduct due diligence
           until the closing of the Sale. The Trustee reserves the right to withhold any
           Diligence Materials that the Trustee determines are necessary to protect
           attorney client privilege, are business-sensitive, competitively sensitive, or
           otherwise not appropriate for disclosure to a Potential Bidder that is a
           competitor of the Debtor or is affiliated with any competitor of the Debtor.
           Neither the Trustee nor his representatives shall be obligated to furnish
           information of any kind whatsoever to any person that is not determined to
           be a Potential Bidder.

                 All due diligence requests must be directed to the attention of
           Trustee’s Co-Brokers, A&G Real Estate Partners, LLC, Attn.: Emilio
           Amendola (emilio@agrep.com) and Eastdil Secured, LLC, Attn.: Andy
           Wimsatt (awimsatt@eastdilsecured.com).


                                            4
21-22108-shl     Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41        Main Document
                                        Pg 22 of 89



         B. Due Diligence from Potential Bidders

                   Each Potential Bidder shall comply with all reasonable requests for
            information and due diligence access by the Trustee or his advisors regarding
            the ability of such Potential Bidder to consummate a Sale.

         C. Communications with Potential Bidders

                    There must be no communications with respect to Bids (as defined
            below) or potential Bids between and amongst Potential Bidders, or between
            Potential Bidders and the Consultation Parties, unless the Trustee has
            previously authorized such communication in writing or with the
            participation of representatives of the Trustee or his advisors. Should any
            Potential Bidder attempt to communicate directly with a Consultation Party
            regarding a Bid or potential bid, such Consultation Party shall immediately
            direct the Potential Bidder to the Trustee’s counsel and financial advisors.
            The Trustee reserves the right, in his reasonable business judgment, to
            disqualify any Potential Bidders that have engaged in communications
            between or amongst themselves without the participation of the Trustee (or a
            representative of the Trustee) or the Trustee’s prior written consent. The
            Trustee further reserves the right, in his reasonable business judgment, to
            strip any Consultation Party that violates this provision of its consultation
            rights hereunder with approval of the Court.

   VI.      Qualified Bidder Status

          In order to be considered as a Qualified Bidder to participate in the Auction
   each Potential Bidder, must deliver to the Trustee and the Trustee’s advisors a
   written, irrevocable offer, solicitation or proposal (each, a “Bid”) prior to the Bid
   Deadline, that must be determined by the Trustee, in his reasonable business
   judgment, and in consultation with the Consultation Parties, to satisfy each of the
   following conditions; provided that the Trustee may waive any of the below
   requirements in the exercise of his reasonable business judgment in consultation
   with the Consultation Parties, to the extent that the Trustee reasonably believes that
   doing so will maximize the value of the Assets:

            a. Good Faith Offer: Each Bid must constitute a good faith, bona fide offer to
               purchase all or substantially all of the Assets. Any potential bidder
               seeking to purchase intellectual property from the Trustee shall itemize
               in its Bid specifically what intellectual property is included in its Bid and
               shall ascribe a value to such intellectual property.

            b. Purchase Price: All Bids (other than a credit bid by the Secured Lender)
               must be for cash to be paid at closing. The Bid must clearly set forth the
               cash purchase price, and any other non-cash consideration (with the form
               of such consideration specified such as assumption of contract cure
               amounts), to be paid (the “Purchase Price”).




                                              5
21-22108-shl   Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41         Main Document
                                      Pg 23 of 89



          c. Good Faith Deposit: Each Bid (other than a credit bid by the Secured
             Lender) must be accompanied by a deposit in the amount of ten (10%)
             percent of the cash consideration portion of the Purchase Price, before
             any reductions for assumed liabilities or other adjustments (the “Good
             Faith Deposit”). The Good Faith Deposit must come in the form of a wire
             transfer, certified check other form acceptable to the Trustee. Each Good
             Faith Deposit must be deposited prior to the Bid Deadline with the
             Trustee’s counsel as escrow holder (“Escrow Holder”).

          d. Executed Agreement: Each Bid (other than a credit bid by the Secured
             Lender) must be based on the proposed purchase agreement prepared by
             the Trustee in consultation with the Consultation Parties, which will be
             posted to the data room (the “Purchase Agreement”). Each Potential
             Bidder must provide a markup of the Purchase Agreement (each, a
             “Potential Bidder Purchase Agreement”). Each Potential Bidder Purchase
             Agreement must include forms of any other transaction documents,
             pursuant to which the Potential Bidder proposes to effectuate a Sale. To
             the extent applicable, each Bid must also include a copy of the Potential
             Bidder Purchase Agreement marked against the Purchase Agreement to
             show all changes requested by the Potential Bidder (including those
             related to the assumption and assignment of contracts and licenses, and
             other material terms such that the Trustee may determine how such Bid
             compares to the terms of competing Bids). Each Potential Bidder
             Purchase Agreement must provide a commitment to close within two
             business days after all closing conditions are satisfied.

          e. Designation of Assigned Contracts and Leases: A Bid must identify any and
             all executory contracts and unexpired leases that the Potential Bidder
             wishes to assume pursuant to the Sale. A Bid must state that the Potential
             Bidder will be responsible for any cure costs associated with such
             assumption, and include a good faith estimate of such cure costs (which
             estimate may be provided by the Trustee).

          f. Designation of Assumed Liabilities: A Bid must identify all liabilities that
             the Potential Bidder proposes to assume.

          g. Identity of Bidders; Purchase Participants: The identity of each entity that
             will be participating in connection with such Bid and taking ownership of
             the assets (including any equity owners or sponsors, if the Potential
             Bidder is an entity formed for the purpose of consummating the sale
             transaction) and a copy of a board resolution or similar document
             demonstrating the authority of the Potential Bidder to make a binding
             and irrevocable bid on the terms proposed and to consummate the
             transaction contemplated by the Bid and any connections with the
             Trustee, and the Debtor’s Principals, including Toby Moskovits and
             Michael Lichtenstein, or any affiliates including, but not limited to
             Northside Acquisition LLC, etc. The provisions of this subsection (g)
             shall not apply to a credit bid tendered by the Secured Lender.



                                            6
21-22108-shl    Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41       Main Document
                                       Pg 24 of 89



          h. Contact Information and Affiliates: A Bid must provide the identity and
             contact information for the Potential Bidder and full disclosure of any
             parent companies, controlling investors, or fund managers of the
             Potential Bidder.

          i. Proof of Financial Ability to Perform: A Bid (other than a credit bid by the
             Secured Lender) must include written evidence of available cash without
             contingency, executed commitment papers for financing (not subject to
             any conditions), and such other evidence of ability to consummate the
             transaction contemplated by the Bid and compliance with the Bid
             Procedures Order, the Bid Procedures in each case, as determined by the
             Trustee in his business judgment.

          j.   Conditions / Contingencies: A Bid must not be subject to further due
               diligence or any financing contingency.

          k. Bid Irrevocable: Subject to the following sentence with respect to the
             requirement to serve as a Backup Bidder, a Bid (other than a credit bid by
             the Secured Lender) must provide that it is irrevocable until two business
             days after the closing of the Sale; provided that if such Bid is accepted as
             the Successful Bid or the Backup Bid, such Bid shall continue to remain
             irrevocable as and to the extent provided in the Potential Bidder Purchase
             Agreement. Each Potential Bidder that submits a Bid further agrees that,
             if not chosen as a Successful Bidder, such Potential Bidder shall serve,
             without modification, as a Backup Bidder (as defined below) as may be
             designated by the Trustee at the Sale Hearing, in the event the relevant
             Successful Bidder with respect to a Sale fails to close as provided in the
             Successful Bidder Purchase Agreement, as modified, if at all, and the
             applicable Sale Order (as defined below).

          l. Consent to Jurisdiction: Each Potential Bidder must (i) submit to the
             jurisdiction of the Court to enter an order or orders, which shall be
             binding in all respects, in any way related to the Trustee, the Bid
             Procedures, any Auction, any Potential Bidder Purchase Agreement, or
             the construction and enforcement of documents relating to any Sale, (ii)
             waive any right to a jury trial in connection with any disputes relating to
             the Trustee, the Bid Procedures, any Auction, any Potential Bidder
             Purchase Agreement, or the construction and enforcement of documents
             relating to any Sale, and (iii) commit to the entry of a final order or
             judgment in any way related to the Trustee, the Bid Procedures, any
             Auction, any Potential Bidder Purchase Agreement, or the construction
             and enforcement of documents relating to any Sale Transaction if it is
             determined that the Court would lack Article III jurisdiction to enter such
             a final order or judgment absent the consent of the parties.

          m. No Bid Protections: Except with respect to any Stalking Horse Bidder
             designated by the Trustee with the consent of the Secured Lender as
             provided for herein, a Bid must not entitle the Potential Bidder to any
             break-up fee, termination fee, transaction fee, expense reimbursement, or


                                             7
21-22108-shl      Doc 780       Filed 11/07/22 Entered 11/07/22 16:49:41                 Main Document
                                            Pg 25 of 89



                 any similar type of payment or reimbursement and, by submitting a Bid,
                 the Potential Bidder waives the right to pursue a substantial contribution
                 claim under 11 U.S.C. § 503 related in any way to the submission of its
                 Bid or participation in any Auction. Each Potential Bidder (other than the
                 Secured Lender) presenting a Bid will bear its own costs and expenses
                 (including legal fees) in connection with any proposed Sale.

             n. Acknowledgement of Chapter 11 Plan: Each bid must acknowledge that the
                Sale may close under and pursuant to a chapter 11 plan for the Debtor;
                provided that if the Trustee is unable to confirm a chapter 11 plan, the Sale
                may be consummated outside of a chapter 11 plan, pursuant to section
                363 of the Bankruptcy Code.

           A Bid received from a Potential Bidder prior to the applicable Bid Deadline
    that meets the above requirements, as determined by the Trustee in his sole
    discretion, shall constitute a “Qualified Bid” for such Assets (and such Potential
    Bidder, a “Qualified Bidder”); provided that if the Trustee receives a Bid prior to the
    Bid Deadline that is not a Qualified Bid, the Trustee may, after consultation with the
    Consultation Parties, provide the Potential Bidder with the opportunity to remedy
    any deficiencies prior to the Auction. Any Stalking Horse Bidder will be deemed a
    Qualified Bidder at all times. For the avoidance of doubt, a Bid submitted after the
    Bid Deadline (other than a credit bid by the Secured Lender) shall not be a Qualified
    Bid.

          In addition, the Secured Lender shall be a Qualified Bidder and shall be
    permitted to credit bid up to the Senior Secured Amount (as defined in the Secured
    Lender Settlement) at the Auction.5

            The Secured Lender shall not be required to comply with the requirement of
    this Section prior to the Auction. To the extent the Secured Lender submits a credit
    bid at the Auction, such credit bid shall comply with this Section VI (a),(h), and (j)-(l)
    (unless specifically stated otherwise in such sections) and shall include cash
    consideration in an amount equal to the Bid Protections granted to a Stalking Horse
    Bidder.

           For the avoidance of doubt, and as reflected in the section titled “The
    Consultation Parties” below, in the event that the Secured Lender elects to
    participate at the Auction as a Qualified Bidder, the Secured Lender shall no longer
    be a Consultation Party with respect to the Assets such party or parties bid upon at
    the Auction; provided that if the Secured Lender elects to submit a Bid as a
    Qualified Bidder, it must so elect (i) at or prior to the commencement of the Auction
    and only after receiving the initial bids for the Auction selected by the Trustee in
    consultation with the Consultation Parties; or (ii) if, after receiving the initial bids
    and after the commencement of the Auction, such initial bids are altered or modified
    during the Auction to the extent that such alteration or modification adversely

5
    For illustrative purposes, the Secured Lender Settlement Provides that the Senior Secured Amount
    consists of $$95,952,130.52 (calculated as of August 14, 2022), plus subsequently accruing interest at
    the contract rate, expenses and legal fees accruing thereafter.


                                                     8
21-22108-shl   Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41       Main Document
                                      Pg 26 of 89



   impacts the value of the Secured Lender’s collateral; provided, however, that in no
   event shall any Qualified Bidder be permitted to reduce the aggregate amount of
   consideration of their Bid after the applicable Bid Deadline. If the Secured Lender
   withdraws as a bidder at the Auction and is not the Successful Bidder or Back-Up
   Bidder, such parties shall resume their full role as a Consultation Party.

          Within one (1) day after the Bid Deadline, the Trustee and his advisors (in
   consultation with the Consultation Parties) will determine which Potential Bidders
   are Qualified Bidders and whether Bids submitted constitute Qualified Bids. Any
   Bid that is not deemed a Qualified Bid will not be considered by the Trustee. Any
   Stalking Horse Agreement submitted by a Stalking Horse Bidder will be deemed a
   Qualified Bid, qualifying such Stalking Horse Bidder to participate in the Auction.
   To the extent there is any dispute regarding whether a Bid submitted prior to the
   Bid Deadline is a Qualified Bid, such dispute may be raised with the Court on an
   expedited basis prior to the commencement of the Auction. If any Bid is determined
   by the Trustee not to be a Qualified Bid, the Trustee will refund such Potential
   Bidder’s Good Faith Deposit on or within five (5) business days after the Bid
   Deadline.

            Prior to the Auction, the Trustee and his advisors, in consultation with the
   Consultation Parties, will evaluate Qualified Bids and identify the Qualified Bid that
   is, in the Trustee’s reasonable business judgment, the highest or otherwise best bid
   (the “Starting Bid”) with respect to a proposed Sale. In making such determination,
   the Trustee will take into account, among other things, the execution risk of non-
   consummation attendant to any submitted Qualified Bids. No later than 24 hours
   before the start of the Auction, the Trustee will notify each Qualified Bidder who has
   timely submitted a Bid with respect to a Sale that its Bid is a Qualified Bid so as to
   enable such Qualified Bidders to bid at the Auction. As soon as practicable prior to
   the Auction the Trustee will further (a) notify each Qualified Bidder who has
   submitted a Qualified Bid and the Consultation Parties as to which Qualified Bid is
   the Starting Bid with respect to a Sale; and (b) distribute copies of the Potential
   Bidder Purchase Agreement(s) or any Stalking Horse Agreement, as applicable,
   associated with such Starting Bid(s) to each Qualified Bidder who has submitted a
   Qualified Bid with respect to a Sale and to the Consultation Parties.

          By submitting its Bid, each Potential Bidder is agreeing with each other
   Potential Bidder to abide by and honor the terms of these Bid Procedures and agrees
   not to submit a bid or seek to reopen the Auction after such Auction.

   VII.   Procedures for the Designation of a Stalking Horse Bidder and Bid
          Protections

       Prior to the commencement of the Auction, the Trustee, in the exercise of his
reasonable business judgment, with the reasonable consent of the Secured Lender, may
designate one or more minimum acceptable bids as a stalking horse purchaser with
respect to certain or all of the Assets (each, a “Stalking Horse Bid”) and provide any
such Stalking Horse Bidder with Bid Protections (as defined below) pursuant to an
agreement with such Stalking Horse Bidder (the “Stalking Horse Agreement”); provided
that no insider or affiliate of the Debtor or the Debtor’s former management company,


                                           9
21-22108-shl   Doc 780     Filed 11/07/22 Entered 11/07/22 16:49:41       Main Document
                                       Pg 27 of 89



the Williamsburg Hotel BK LLC shall be entitled to any Bid Protections. Any dispute
among the Trustee and the Consultation Parties with respect to the designation of a
Stalking Horse Bidder may be resolved by the Court.

       If the Trustee designates a Stalking Horse Bidder or Stalking Horse Bidders with
respect to certain or all of the Assets, the Trustee shall promptly upon execution of a
Stalking Horse Agreement (and in no event more than one (1) calendar day following
such execution) shall file with the Court, and serve on the applicable parties, a notice
that contains: (a) the identity of the Stalking Horse Bidders or Stalking Horse Bidders;
(b) any connections the Stalking Horse Bidder or Stalking Horse Bidders have with the
Trustee, the Debtor’s Principals, including Toby Moskovits and Michael Lichtenstein, or
any Affiliates including, but not limited to Northside Acquisition, LLC, etc.; (c) the
material terms of the Stalking Horse Bid, including the Stalking Horse Agreement and
the Bid Protections, and attaches the proposed Stalking Horse Agreement (the “Notice
of Stalking Horse Bidder”).

        The Trustee may, with the reasonable consent of the Secured Lender, at closing
of the sale of the Assets subject to the Stalking Horse Bid, make certain payments to the
Stalking Horse Bidder in consideration of its tendering the Stalking Horse Bid,
including (a) a break-up fee of 1% of the cash consideration to be paid (the “Break-Up
Fee”) and (b) reimbursement of reasonable, documented and necessary out-of-pocket
expenses incurred in connection with such Stalking Horse Bid not to exceed $150,000
(the “Expense Reimbursement” and, together with the Break-Up Fee, the “Bid
Protections”).

        Any objections (each, a “Stalking Horse Objection”) to the designation of a
Stalking Horse Bidder, including any Bid Protections, pursuant to the terms and
provisions of a Stalking Horse Agreement, must (a) be in writing; (b) conform to the
applicable provisions of the Bankruptcy Rules, the Local Rules, and any orders of this
Court; (c) state with particularity the legal and factual basis for the objection and the
specific grounds therefor; and (d) be filed with the Court within ten (10) calendar days
after the filing of the relevant Notice of Stalking Horse Bidder, and served on (i) counsel
to the Trustee, Togut, Segal & Segal LLP, Attn.: Frank A. Oswald, Esq.
(frankoswald@teamtogut.com) and Amanda C. Glaubach, Esq.
(aglaubach@teamtogut.com); and (ii) co-counsel to the Secured Lender, Kramer Levin
Naftalis & Frankel LLP, Attn.: Adam C. Rogoff, Esq. (Arogoff@kramerlevin.com) and
Nelson Mullins Riley & Scarborough, LLP, Attn: Lee B. Hart, Esq.
(lee.hart@nelsonmullins.com).

       If a timely Stalking Horse Objection is filed and served in accordance with the
preceding paragraph, the proposed Bid Protections will not be deemed approved until
the Stalking Horse Objection is resolved by agreement of the objecting party, the
Trustee and the Secured Lender, or by order of the Court.

       If no timely Stalking Horse Objection is filed and served with respect to an
applicable Stalking Horse Agreement in accordance with the Bid Procedures, the Bid
Protections shall be deemed approved without further order of the Court upon the
expiration of the objection deadline.



                                            10
21-22108-shl    Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41        Main Document
                                       Pg 28 of 89



       No other bidder, nor any party making a credit bid (irrespective of whether it is a
Stalking Horse Bidder) will be entitled to any Bid Protections or any other expense
reimbursement, break-up fee, termination fee or any other similar fee or payment;
provided, that neither the Bid Procedures Order nor the Bid Procedures shall impair or
prejudice the rights of the Secured Lender to collect its fees in accordance with the Loan
Agreement and related documents.

        For the avoidance of doubt, the Trustee is not required to designate a Stalking
Horse Bidder or Stalking Horse Bidders, and may proceed to open the Auction without
first designating a Stalking Horse Bidder or Stalking Horse Bidders as set forth below.

   VIII. Auction

        If two or more Qualified Bids with respect to all of the Assets or individual
Assets are received by the Bid Deadline (or the Secured Lender tenders a Bid as
provided for herein), the Trustee will conduct the Auction to determine the highest or
otherwise best Qualified Bid with respect to such Assets. This determination shall take
into account any factors the Trustee (in consultation with the Consultation Parties)
reasonably deems relevant to the value of the Qualified Bid to the estates and may
include, but are not limited to, the following: (a) the amount and nature of the cash
consideration and assumed liabilities; (b) the number, type and nature of any changes
to the Purchase Agreement requested by each Qualified Bidder; (c) the extent to which
such modifications or provisions are likely to delay closing of the Sale of the Assets and
the cost to the estate of such modifications or delay, and whether such modifications
increase the risk of non-consummation; (d) which Assets the Qualified Bid covers and
the likelihood that any other potential bidders would have interest in separately
acquiring remaining Assets; (e) the total consideration to be received by the estate; (f)
the likelihood of the Qualified Bidder’s ability to close a transaction and the timing
thereof; (g) the net benefit to the estate, taking into account, if applicable, any Stalking
Horse Bidder’s right to any Break-Up Fee or Expense Reimbursement or similar fee; (h)
the impact on employees, the number or percentage of employees to be retained post-
closing, employee claims against the Debtor’s estate; (i) in a Sale seeking to acquire only
certain Assets, the execution risk and additional costs related to separate documentation
regarding the sale(s), if any, of the remaining Assets; and (j) any other qualitative or
quantitative factor the Trustee deems reasonably appropriate under the circumstances
(collectively, the “Bid Assessment Criteria”).

       If two or more Qualified Bids are not received by the Bid Deadline (or, in the case
of the Secured Lender, as provided for herein), the Trustee may, after consulting with
the Consultation Parties, determine not to conduct the Auction. If only one Qualified
Bid with respect to a Sale is received by the Bid Deadline, the Trustee may, after
consulting with the Consultation Parties, select the Potential Bidder Purchase
Agreement or Stalking Horse Agreement, as applicable, of such Qualified Bidder to be
the Successful Bid and such Qualified Bidder shall be the Successful Bidder with respect
to the applicable Sale, provided that the Trustee may not select a Successful Bid that
provides total cash consideration less than the maximum credit bid then available to the
Secured Lender absent the prior written consent of the Secured Lender.




                                            11
21-22108-shl   Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41        Main Document
                                      Pg 29 of 89



       In the event that two or more Qualified Bids are submitted in accordance with
these Bid Procedures, the Trustee shall conduct the Auction. The Auction will take
place at 10:00 a.m. (prevailing Eastern Time) on December 6, 2022 (such date, or such
other date allowed under these Bid Procedures as the Trustee may notify any Qualified
Bidder who has submitted a Qualified Bid, and counsel to the Secured Lender, the
“Auction Date”) and be held at a location to be determined. The Auction shall be
recorded. Only a Qualified Bidder that has submitted a Qualified Bid (including any
Stalking Horse Bidder or Stalking Horse Bidders) will be eligible to participate at the
Auction, subject to such limitations as the Trustee may impose in good faith. A
reasonable number of representatives of the professional advisors of any Qualified
Bidder will be permitted to attend and observe the Auction. The Trustee may, in the
exercise of his business judgment, with the consent of the Secured Lender, adjourn the
Auction.

      A. Auction Bid Submission Procedures

      Auction bidding shall be subject to the following procedures:

          a. For a Qualifying Bid to be considered and in order for a Qualifying
             Bidder to further bid at the Auction, Qualifying Bidders must appear at
             the Auction, or through a duly authorized representative, unless
             alternative arrangements are agreed upon in advance by the Trustee.

          b. Only Qualifying Bidders shall be entitled to make any subsequent bids at
             the Auction.

          c. Bidding will commence with the announcement of the highest or best
             Qualifying Bid, which shall be determined solely by the Trustee in his
             business judgment, in consultation with the Consultation Parties. Any
             Qualifying Bidder may then submit successive bids in minimum
             increments of no less than $500,000, provided that if a Stalking Horse
             Bidder is selected the initial overbid shall also include the Bid Protections
             (the “Minimum Overbid Amount”).

          d. If one or more Qualifying Bids are received by the Trustee, each such
             Qualifying Bidder shall have the right to improve its respective bid at the
             Auction.

          e. Other than a credit bid submitted by the Secured Lender, each successive
             bid submitted by any bidder at the Auction must contain an actual cash
             purchase price that exceeds the then existing highest bid by at least the
             Minimum Overbid Amount. At commencement of the Auction, the
             Trustee may announce procedural and related rules governing the
             Auction, including time periods available to all Qualifying Bidders to
             submit successive bid(s) in an amount equivalent to at least the Minimum
             Overbid Amount.




                                           12
21-22108-shl   Doc 780     Filed 11/07/22 Entered 11/07/22 16:49:41        Main Document
                                       Pg 30 of 89



      B. Selection of Highest or Otherwise Best Bid

           At the Auction, the Trustee, in consultation with the Consultation Parties, will
   be permitted to request best and final offers from the Qualified Bidders (including
   any Stalking Horse Bidders). The Trustee, in consultation with the Consultation
   Parties, may identify the highest or otherwise best Qualified Bid(s) as the successful
   bid(s) (such Bid, the “Successful Bid,” the Qualified Bidder submitting such
   Successful Bid, the “Successful Bidder” and the Qualified Bidder’s purchase
   agreement, the “Successful Bidder Purchase Agreement”) with respect to the Sale.
   The Auction shall close when a Successful Bidder submits fully executed sale and
   transaction documents memorializing the terms of the Successful Bid with respect to
   the Sale. Notwithstanding anything herein to the contrary, the Trustee may, in his
   reasonable business judgment and in consultation with the Consultation Parties, at
   any time announce the conclusion of the Auction.

          Promptly following the conclusion of the Auction, the Trustee shall announce
   the Successful Bid or Successful Bids and Successful Bidder or Successful Bidders
   with respect to the Sale and shall file with the Court notice of such Successful Bid or
   Successful Bids and Successful Bidder or Successful Bidders. The Trustee shall serve
   such notice by email (where available) and overnight mail (where email is
   unavailable) on counterparties to Assumed Contracts that are to be assumed and
   assigned in connection with such Successful Bid or Successful Bids.

          For the avoidance of doubt, the Trustee may, with the prior consent of the
   Secured Lender (which may be granted or withheld at its discretion), withdraw the
   Assets at issue, from the Sale at any time before or during the Auction, and to make
   subsequent attempts to market the same, if the Trustee, with the prior consent of the
   Secured Lender (which may be granted or withheld at its discretion), determines
   that highest or otherwise best Qualified Bid is not acceptable to the Trustee.

      C. Designation of Backup Bidder

           Notwithstanding anything in the Bid Procedures to the contrary, if an
   Auction is conducted with respect to a Sale Transaction, the Qualified Bidder with
   the next highest or otherwise best Bid with respect to the Sale at the Auction, as
   determined by the Trustee (in consultation with the Consultation Parties), in the
   exercise of his business judgment, will be designated as the backup bidder (the
   “Backup Bidder”) for the Sale. The Backup Bidder shall be required to keep its
   Qualified Bid (or if the Backup Bidder submitted one or more Overbids at the
   applicable Auction, the Backup Bidder’s final Overbid) (the “Backup Bid”) open and
   irrevocable until the earlier of (i) 5:00 p.m. (prevailing Eastern Time) on the date that
   is at least 60 calendar days after the date of entry of the Sale Order (the “Outside
   Backup Date”), or (ii) the closing of the transaction with the Successful Bidder.

          Following the Sale Hearing, if the Successful Bidder fails to consummate an
   approved transaction with respect to the Assets that are the subject of the Successful
   Bid, the Backup Bidder will be deemed to have the new prevailing Bid with respect
   to such Assets, and the Trustee will be authorized, but not required, without further



                                            13
21-22108-shl   Doc 780     Filed 11/07/22 Entered 11/07/22 16:49:41        Main Document
                                       Pg 31 of 89



   order of the Court, to consummate the transaction with the Backup Bidder with
   respect to such Assets.

          In the event that a Successful Bidder does not consummate the Sale and a
   Backup Bidder(s) has been previously identified, the Trustee shall (1) file and serve a
   Notice of Intent to Proceed with Backup Bid, and (2) schedule a telephonic status
   conference, which may be expedited, upon reasonable notice under the
   circumstances, at which time a briefing and hearing schedule will be established for
   those landlords and counterparties to executory contracts that do not consent to the
   proposed assumption and assignment to the Backup Bidder(s) solely with respect to
   issues relating to adequate assurance. The Backup Bidder(s), as identified in the
   Notice of Successful Bidder, shall be approved at the Sale Hearing in all respects
   other than with respect to issues relating to adequate assurance, and affected
   landlords and other contract counterparties shall not be required to object to the
   Backup Bidder(s) on adequate assurance grounds prior to the filing and service of
   the Notice of Intent to Proceed with Backup Bid.

   IX.    Sale Hearing

       The Successful Bid (including any Backup Bid that is subsequently deemed a
Successful Bid) will be subject to Court approval. A hearing to consider approval of the
Successful Bid with respect to the Sale in the accordance with these Bid Procedures (the
“Sale Hearing”) is presently scheduled to take place on December 20, 2022, at 2:00 p.m.
(prevailing Eastern Time).

       At the Sale Hearing the Trustee will present the Successful Bid or Successful Bids
to the Court for approval.

       The Sale Hearing may be adjourned by the Trustee in consultation with the
Consultation Parties and the Successful Bidder, from time to time, upon the filing of a
notice of adjournment with the Court.

      If no Backup Bidder is selected and the Successful Bidder fails to close, or if the
Backup Bidder fails to close, the Trustee may submit a proposed order to the Court to
approve the closing of a sale to the Secured Lender via a credit bid without further
hearing provided that the Court has approved a credit bid by the Secured Lender as a
Backup Bid.

   X.      Return of Good Faith Deposits

       The Good Faith Deposits of all Qualified Bidders (including any Stalking Horse
Bidders) will be held in escrow by the Escrow Holder and while held in escrow will not
become property of the estate unless released to the Trustee from escrow pursuant to
terms of the applicable escrow agreement or pursuant to further order of the Court.
The Escrow Holder will retain the Good Faith Deposits of the Successful Bidder until
the closing of the sale transactions in respect of such Successful Bid unless otherwise
ordered by the Court. The Good Faith Deposits of the Qualified Bidders other than the
Successful Bidder will be returned no later than five (5) Business Days after the date of
the Closing of the Sale. If the Backup Bidder is not designated the Successful Bidder


                                            14
21-22108-shl   Doc 780     Filed 11/07/22 Entered 11/07/22 16:49:41       Main Document
                                       Pg 32 of 89



with respect to a Sale Transaction, the Good Faith Deposit of such Backup Bidder, if
any, shall be returned to the Backup Bidder on the date that is the earlier of 72 hours
after (a) the closing of the applicable transaction with the Successful Bidder and (b) the
Outside Backup Date with respect to such transaction. At the closing of the sale
transactions contemplated by the Successful Bid, the Successful Bidder will be entitled
to a credit for the amount of its Good Faith Deposit. Upon the return of the Good Faith
Deposits, their respective owners will receive any and all interest that has accrued
thereon.

   XI.    “As Is, Where Is” Sale

       Any Sale will be on an “as is, where is” basis and without representations or
warranties of any kind by the Trustee, his representatives, or the estate, except and
solely to the extent expressly set forth in the final purchase agreement approved by the
Court. Each Qualified Bidder will be required to acknowledge and represent that it has
had an opportunity to conduct any and all due diligence regarding the Assets that are
the subject of the Auction prior to making its bid and that it has relied solely upon its
own independent review and investigation in making its bid. Except as may be set
forth in the applicable Successful Bidder Purchase Agreement or the applicable Sale
Order, the Assets are sold free and clear of any liens, claims, interests, or encumbrances
of any kind of nature to the fullest extent permissible under the Bankruptcy Code, with
such liens, claims, interests, or encumbrances to attach to the proceeds of sale paid
directly to the Trustee and Secured Lender at closing (through a title or escrow agent, as
applicable) in accordance with the Secured Lender Settlement, and the portion of which
proceeds paid to the Trustee to be held by the Trustee pending distribution of such
proceeds to holders of other liens in accordance with the priority of their respective
liens and otherwise subject to orders entered by the Court in the Chapter 11 Case,
including without limitation the Secured Lender Settlement, with the same validity and
priority as such interests applied against the Assets.

   XII.   The Consultation Parties

       The Trustee shall consult with the Secured Lender and the Secured Lender’s
advisors (the “Consultation Parties”) with respect to any Bids, as explicitly provided for
in the Bid Procedures; provided, however, that the Trustee shall not be required to
consult with the Secured Lender if the Secured Lender formally submits a credit bid at
or prior to the Auction.

        In addition, the Trustee will (a) provide the Consultation Parties (i) continued
access to the Trustee’s advisors, including access to sale and marketing materials, and
consultation with the Trustee on the marketing process; and (ii) copies of all Bids and
letters of intent as soon as reasonably practicable but in no event later than twenty-four
(24) hours following the Trustee’s receipt of the same; and (b) consult with the
Consultation Parties with respect to all Bids received; provided, however, that if the
Secured Lender submits a Bid, formally declaring its intention to be a Qualified Bidder,
or elects at or prior to the Auction to be a Qualified Bidder, the Trustee shall not be
required to provide such copies of Bids or letters of intent to the Secured Lender and
instead shall provide such information to the Secured Lender’s counsel, on an advisors’-



                                            15
21-22108-shl   Doc 780     Filed 11/07/22 Entered 11/07/22 16:49:41       Main Document
                                       Pg 33 of 89



eyes-only basis, who shall keep such information confidential without the express prior
written consent of the Trustee.

   XIII. Supplementation of Bid Procedures

       The Trustee in his business judgment (in consultation with the Consultation
Parties) may supplement these Bid Procedures with any terms or procedures that are
reasonable and enhance the auction processes and/or clarifies any matters not currently
delineated herein.

   XIV. Trustee’s Reservation of Rights

        Except as otherwise provided in the Purchase Agreement, any Stalking Horse
Agreement, the Bid Procedures, or the Bid Procedures Order, the Trustee (in
consultation with the Consultation Parties) further reserves the right as he may
reasonably determine to be in the best interest of the estate and in the exercise of his
fiduciary duties to: (a) determine which bidders are Qualified Bidders; (b) determine
which bids are Qualified Bids; (c) determine whether to enter into a Stalking Horse
Agreement; (d) determine which Qualified Bid is the highest or otherwise best proposal
and which is the next highest or otherwise best proposal with respect to the Sale;
(e) reject any Bid that is (1) not in conformity with the requirements of the Bid
Procedures or the requirements of the Bankruptcy Code, the Bankruptcy Rules, the
Local Bankruptcy Rules, or the Bid Procedures, or (2) contrary to the best interests of the
estate, creditors, interest holders, or parties-in-interest; (f) waive terms and conditions
set forth herein otherwise applicable to all potential bidders other than the requirement
that all bids be for cash and assumed liabilities other than the credit bids, and except as
otherwise expressly set forth herein with respect to the Bids of the Secured Lender;
(g) impose additional terms and conditions with respect to all potential bidders (except
as otherwise expressly set forth herein with respect to the Bids of the Secured Lender;
(h) modify the deadlines set forth herein subject to any ruling or order entered by the
Court, or to accommodate the Court’s calendar; (i) continue or cancel the Auction
and/or Sale Hearing in open court without further notice; and (j) modify the Bid
Procedures and implement additional procedural rules that the Trustee determines, in
his business judgment, after consulting with the Consultation Parties, will better
promote the goals of the bidding process and discharge the Trustee’s fiduciary duties
and are not inconsistent with any Court order.

       Nothing in these Bid Procedures shall prejudice the substantive rights of any
party, including with respect to the Trustee’s evaluation of any Bid.




                                            16
21-22108-shl   Doc 780   Filed 11/07/22 Entered 11/07/22 16:49:41   Main Document
                                     Pg 34 of 89



                                     Exhibit 2

                                 The Sale Notice
21-22108-shl        Doc 780       Filed 11/07/22 Entered 11/07/22 16:49:41              Main Document
                                              Pg 35 of 89



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         :   Chapter 11
                                                               :
96 WYTHE ACQUISITION LLC,                                      :   Case No. 21-22108 (SHL)
                                                               :
                                       Debtor.                 :
                                                               :
---------------------------------------------------------------x

                         NOTICE OF AUCTION AND SALE HEARING

PLEASE TAKE NOTICE OF THE FOLLOWING:

    1. On February 23, 2021 (the “Petition Date”), 96 Wythe Acquisition LLC (the
“Debtor”) commenced the above-captioned case (the “Chapter 11 Case”) by filing a
voluntary petition for relief under title 11 of the United States Code (the “Bankruptcy
Code”) in the United States Bankruptcy Court for the Southern District of New York
(the “Court”). On May 31, 2022, the Court approved the appointment of Stephen S.
Gray as the Chapter 11 Trustee (the “Trustee”) for the Debtor.1

    2. On October 21, 2022, the Trustee filed a motion (the “Motion”)2 seeking, among
other things, entry of an order (the “Bid Procedures Order”) (a) approving the Auction
(as defined below) and the bid procedures (the “Bid Procedures”) to be used in
connection with the sale (the “Sale”) of the Debtor’s assets, including the Property
(collectively, the “Assets”); (b) establishing procedures for the Trustee to designate a
stalking horse bidder or stalking horse bidders with respect to certain or all of the
Assets (each a “Stalking Horse Bidder”) and to enter into a stalking horse agreement or
stalking horse agreements (each, a “Stalking Horse Agreement”) with a Break-Up Fee
and Expense Reimbursement (together, the “Bid Protections”); (c) establishing certain
dates and deadlines for the Sale process, including scheduling an auction of the Assets
(the “Auction”), if necessary, in accordance with the Bid Procedures, and the hearing
with respect to the approval of the Sale (the “Sale Hearing”); (d) approving the form
and manner of notice of the Auction and Sale Hearing; and (e) approving procedures
for the assumption and assignment of executory contracts and unexpired leases (the
“Assumption and Assignment Procedures”) [Docket No. 752].



1
    Following evidentiary hearings conducted on May 17 and 25, 2022 and post-hearing oral argument
    on May 26, on May 27, 2022 the Court entered its Order Granting Motions to Appoint a Chapter 11
    Trustee [Docket No. 591]. On May 31, 2022, the United States Trustee filed his Notice of Appointment of
    Chapter 11 Trustee [Docket No. 592] and filed an application for an order approving the appointment
    of Stephen S. Gray, as the Chapter 11 Trustee (the “Trustee”) of the estate of the Debtor [Docket No.
    593].
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such
    terms in the Motion, or the Bid Procedures, as applicable.


                                                         2
21-22108-shl   Doc 780   Filed 11/07/22 Entered 11/07/22 16:49:41        Main Document
                                     Pg 36 of 89



   3. On [____] [__], 2022, the Court entered the Bid Procedures Order [Docket No. __].
The Bid Procedures provide as follows:

     a. Auction. If two or more Qualified Bids with respect to all of the Assets are
        received by the Bid Deadline, the Trustee will conduct the Auction to
        determine the highest or otherwise best Qualified Bid with respect to such
        Assets. The Auction will take place at 10:00 a.m. (prevailing Eastern Time)
        on December 6, 2022 (such date, or such other date allowed under these Bid
        Procedures as the Trustee may notify any Qualified Bidder who has submitted
        a Qualified Bid, and counsel to the Secured Lender, the “Auction Date”) and
        be held at a location to be determined. The Auction shall be recorded. Only a
        Qualified Bidder that has submitted a Qualified Bid (including any Stalking
        Horse Bidder or Stalking Horse Bidders) will be eligible to participate at the
        Auction, subject to such limitations as the Trustee may impose in good faith.
        A reasonable number of representatives of the professional advisors of any
        Qualified Bidder will be permitted to attend and observe the Auction. The
        Trustee may, in the exercise of his business judgment, adjourn the Auction.
        Any Qualified Bidder that wishes to take part in this process and submit a bid
        for the Assets must submit their competing Bid prior to the Bid Deadline and
        in accordance with the Bid Procedures. If two or more Qualified Bids are not
        received by the Bid Deadline, the Trustee may, after consulting with the
        Consultation Parties, determine not to conduct the Auction. If only one
        Qualified Bid with respect to a Sale is received by the Bid Deadline, the
        Trustee may, after consulting with the Consultation Parties, select the
        Potential Bidder Purchase Agreement or Stalking Horse Agreement, as
        applicable, of such Qualified Bidder to be the Successful Bid and such
        Qualified Bidder shall be the Successful Bidder with respect to the applicable
        Sale.

     b. Sale Hearing. The hearing to consider approval of the Successful Bid with
        respect to the Sale in accordance with the Bid Procedures (the “Sale Hearing”)
        is scheduled to take place on December 20, 2022 at 2:00 p.m. (prevailing
        Eastern Time). At the Sale Hearing, the Trustee will present the Successful
        Bid or Successful Bids to the Court for approval. The Sale Hearing may be
        adjourned by the Trustee in consultation with the Consultation Parties and the
        Successful Bidder, from time to time, upon the filing of a notice of
        adjournment with the Court.

     c. Sale Objection Deadlines. Objections, if any, to the Sale of the Assets free
        and clear of all liens, claims, interests, and encumbrances must: (a) be in
        writing; (b) conform to the applicable provisions of the Bankruptcy Rules, the
        Local Rules, and any orders of this Court; (c) state with particularity the legal
        and factual basis for the objection and the specific grounds therefor; and (d) be
        filed with the Court no later than (i) December 12, 2022 at 5:00 p.m.
        (prevailing Eastern Time), with respect to the proposed Sale of the Assets, or
        (ii) December 16, 2022 at 4:00 p.m. (prevailing Eastern Time), with respect to
        the Sale of any Assets, and served on: (i) counsel to the Trustee, Togut, Segal &
        Segal LLP, Attn.: Frank A. Oswald, Esq. (frankoswald@teamtogut.com) and
        Amanda C. Glaubach, Esq. (aglaubach@teamtogut.com); and (ii) co-counsel to


                                           3
21-22108-shl    Doc 780     Filed 11/07/22 Entered 11/07/22 16:49:41      Main Document
                                        Pg 37 of 89



         the Secured Lender, Kramer Levin Naftalis & Frankel LLP, Attn.: Adam C.
         Rogoff, Esq. (Arogoff@kramerlevin.com) and Nelson Mullins Riley &
         Scarborough, LLP, Attn.: Lee B. Hart, Esq. (lee.hart@nelsonmullins.com).
         Unless an objection is timely served and filed in accordance with this notice, it
         may not be considered by the Court and the Court may grant the relief
         requested without further hearing and notice.

   4. Key Dates and Deadlines. The key dates for the Sale process are as follows:

                Key Event                                      Deadline

 Bid Deadline                            Monday, December 12, 2022 at 5:00 p.m. (ET)

 Sale Objection Deadline                 Monday, December 12, 2022 at 5:00 p.m. (ET)

 Proposed Assumption / Cure              Monday, December 12, 2022 at 5:00 p.m. (ET)
 Amounts Objection Deadline

 Deadline for Trustee to notify          Tuesday, December 13, 2022 at 12:00 p.m. (ET)
 bidders of their status as Qualified
 Bidders

 Auction (if necessary)                  Wednesday, December 14, 2022 at 11:00 a.m.
                                         (ET)

 File Notice of Successful Bidder        Thursday, December 15, 2022 at 4:00 p.m. (ET)

 Supplemental Sale Objection             Friday, December 16, 2022 at 4:00 p.m. (ET)
 Deadline

 Adequate Assurance of Future            Friday, December 16, 2022 at 4:00 p.m. (ET)
 Performance Objection Deadline

 Sale Briefing and any Replies           Monday, December 19, 2022 at 12:00 p.m. (ET)

 Sale Hearing                            Tuesday, December 20, 2022 at 2:00 p.m. (ET)

 Deadline for Sale Closing               Friday, December 30, 2022 at [____] [__].m.

                               [Concludes on Following Page]




                                            4
21-22108-shl   Doc 780   Filed 11/07/22 Entered 11/07/22 16:49:41       Main Document
                                     Pg 38 of 89



   5. Conclusion. This notice (the “Sale Notice”) and any Sale Hearing are subject to
      the fuller terms and conditions of the Motion and the Bid Procedures Order,
      which shall control in the event of any conflict, and the Trustee encourages
      parties in interest to review such documents in their entirety. Parties interested
      in receiving more information regarding the Sale of the Debtor’s Assets or copies
      of any related document, including the Motion or the Bid Procedures Order, may
      make a written request to counsel to the Trustee, Togut, Segal & Segal LLP, Attn.:
      Frank A. Oswald, Esq. (frankoswald@teamtogut.com) and Amanda C. Glaubach,
      Esq. (aglaubach@teamtogut.com). In addition, copies of the Motion, the Bid
      Procedures Order, and this Sale Notice can be found on the Court’s website at
      https://www.nysb.uscourts.gov in accordance with the procedures and fees set
      forth therein.

DATED: New York, New York
       [______] [___], 2022

                                               STEPHEN S. GRAY
                                               Not Individually But Solely in His
                                               Capacity as Chapter 11 Trustee
                                               By His Attorneys,
                                               TOGUT, SEGAL & SEGAL LLP
                                               By:

                                                DRAFT
                                               ALBERT TOGUT
                                               FRANK A. OSWALD
                                               BRYAN M. KOTLIAR
                                               AMANDA C. GLAUBACH
                                               One Penn Plaza, Suite 3335
                                               New York, New York 10119
                                               (212) 594-5000




                                           5
21-22108-shl   Doc 780   Filed 11/07/22 Entered 11/07/22 16:49:41   Main Document
                                     Pg 39 of 89



                                     Exhibit 3

                           Contract Assumption Notice
21-22108-shl        Doc 780       Filed 11/07/22 Entered 11/07/22 16:49:41              Main Document
                                              Pg 40 of 89



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         :   Chapter 11
                                                               :
96 WYTHE ACQUISITION LLC,                                      :   Case No. 21-22108 (SHL)
                                                               :
                                       Debtor.                 :
                                                               :
---------------------------------------------------------------x

                     NOTICE OF PROPOSED ASSUMPTION
             AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS

               PLEASE TAKE NOTICE OF THE FOLLOWING DEADLINES:

      Cure Objection Deadline: On or before December 12, 2022 at 5:00 (prevailing
Eastern Time), or such deadline set forth in the applicable Supplemental Assumption
Notice.

      Deadline for objections to the proposed assumption and assignment of an
Assigned Contract solely with respect to (i) the identity of the Successful Bidder
adequate assurance of future performance of the applicable Successful Bidder or
Successful Bidders or (ii) adequate assurance of future performance provided by the
Successful Bidder or Successful Bidders shall be December 16, 2022 at 4:00 p.m.
(prevailing Eastern Time) (the “Supplemental Sale Objection Deadline”).

PLEASE TAKE NOTICE OF THE FOLLOWING:

1. On February 23, 2021 (the “Petition Date”), 96 Wythe Acquisition LLC (the
   “Debtor”) commenced the above-captioned case (the “Chapter 11 Case”) by filing a
   voluntary petition for relief under title 11 of the United States Code (the
   “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District
   of New York (the “Court”). On May 31, 2022, the Court approved the appointment
   of Stephen S. Gray as the Chapter 11 Trustee (the “Trustee”) for the Debtor.1

2. On October 21, 2022, the Trustee filed a motion (the “Motion”)2 seeking, among
   other things, entry of an order (the “Bid Procedures Order”) (a) approving the
   Auction (as defined below) and the bid procedures (the “Bid Procedures”) to be

1
    Following evidentiary hearings conducted on May 17 and 25, 2022 and post-hearing oral argument
    on May 26, on May 27, 2022 the Court entered its Order Granting Motions to Appoint a Chapter 11
    Trustee [Docket No. 591]. On May 31, 2022, the United States Trustee filed his Notice of Appointment of
    Chapter 11 Trustee [Docket No. 592] and filed an application for an order approving the appointment
    of Stephen S. Gray, as the Chapter 11 Trustee (the “Trustee”) of the estate of the Debtor [Docket No.
    593].
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such
    terms in the Motion, or the Bidding Procedures, as applicable.


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21-22108-shl   Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41       Main Document
                                      Pg 41 of 89



   used in connection with the sale (the “Sale”) of the Debtor’s assets, including the
   Property (collectively, the “Assets”); (b) establishing procedures for the Trustee to
   designate a stalking horse bidder or stalking horse bidders with respect to certain or
   all of the assets (each a “Stalking Horse Bidder”) and to enter into a stalking horse
   agreement or stalking horse agreements (each, a “Stalking Horse Agreement”) with
   a Break-Up Fee and Expense Reimbursement (together, the “Bid Protections”);
   (c) establishing certain dates and deadlines for the Sale process, including
   scheduling an auction of the Assets (the “Auction”), if necessary, in accordance with
   the Bid Procedures, and the hearing with respect to the approval of the Sale (the
   “Sale Hearing”); (d) approving the form and manner of notice of the Auction and
   Sale Hearing; and (e) approving procedures for the assumption and assignment of
   executory contracts and unexpired leases (the “Assumption and Assignment
   Procedures”) [Docket No. 752].

3. On [_____] [__], 2022, the Court entered the Bid Procedures Order [Docket No. [__].
   Pursuant to the Bid Procedures Order, the Trustee hereby provides notice that the
   Debtor is seeking to assume and assign to a Successful Bidder or Successful Bidders
   in connection with the Sale the executory contracts or unexpired leases (each, an
   “Assigned Contract”) listed on Exhibit A attached hereto.

4. If the Trustee assumes and assigns to a Successful Bidder or Successful Bidders an
   Assigned Contract to which you are a party, on the closing date of the Sale, or as
   soon thereafter as practicable, such Successful Bidder or Successful Bidders will pay
   you the amount the Trustee’s records reflect is owing for prepetition arrearages as
   set forth on Exhibit A (the “Cure Payment”). The Trustee’s records reflect that all
   postpetition amounts owing under your Assigned Contract have been paid and will
   continue to be paid until the assumption and assignment of the Assigned Contract,
   and that other than the Cure Payment, there are no defaults under the Assigned
   Contract. Cure Payment amounts that include postpetition balances that are paid
   shall be reduced accordingly.

5. The Trustee’s inclusion of an executory contract or unexpired lease as an Assigned
   Contract on Exhibit A is not a guarantee that such executory contract or unexpired
   lease will ultimately be assumed and assigned to any Successful Bidder or
   Successful Bidders. Should it be determined that an Assigned Contract will not be
   assumed and assigned, the Trustee shall notify such party to the Assigned Contract
   in writing of such decision.

6. Under the terms of the Bid Procedures Order, the Trustee may modify the list of
   Assumed Contracts on Exhibit A until consummation of the Sale, and the Trustee
   reserves the right, but only in accordance with the Successful Bidder Purchase
   Agreement or any Stalking Horse Agreement, as applicable, or as otherwise agreed
   by the Trustee and the Successful Bidder or Successful Bidders, at any time before
   the deadline for designation of additional Assigned Contracts or removal of
   potentially Assigned Contracts set forth in the Successful Bidder Purchase
   Agreement or any Stalking Horse Agreement, to (i) supplement the list of Assigned
   Contracts with previously omitted executory contracts, (ii) remove Assigned
   Contracts from the list of executory contracts ultimately selected as Assigned
   Contracts that a Successful Bidder proposes be assumed and assigned to it in


                                           3
21-22108-shl    Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41         Main Document
                                       Pg 42 of 89



   connection with a Sale, or (iii) modify the previously stated Cure Payment
   associated with any Assigned Contracts. In the event the Trustee exercises any of
   these reserved rights, the Trustee will promptly serve a supplemental notice of
   contract assumption (a “Supplemental Assumption Notice”) on each of the
   counterparties to such contracts and their counsel of record, if any, and the
   Consultation Parties; provided, however, the Trustee may not add an executory
   contract to the list of Assigned Contracts that has been previously rejected by the
   Trustee by order of the Court. Each Supplemental Assumption Notice will include
   the same information with respect to the list of Assigned Contracts that was
   included in the Contract Assumption Notice, or in the event of removal, information
   required in a Removal Notice. Any Supplemental Assumption Notice will be served
   as soon as reasonably practicable following the Successful Bidder’s identification of
   any such omissions, removals, or modifications to any Assigned Contracts, but not
   later than 24 hours following notice to the Trustee of such omissions, removals, or
   modifications.

7. Any objection to the proposed assumption and assignment or the Cure Payment
   proposed with respect thereto, must (i) be in writing, (ii) comply with the applicable
   provisions of the Bankruptcy Rules and the Local Rules, (iii) state with specificity
   the nature of the objection and, if the objection pertains to the proposed amount of
   the Cure Payment, the correct cure amount alleged by the objecting counterparty,
   together with any applicable and appropriate documentation in support thereof,
   and (iv) be filed with the Court and served upon, so as to be actual received by
   counsel to the Trustee and counsel to the applicable Successful Bidder (if such
   counsel is known), as applicable, on or before December 12, 2022 at 5:00 p.m.
   (prevailing Eastern Time) (the “Cure Objection Deadline”), or such deadline set
   forth in the applicable Supplemental Assumption Notice. Notwithstanding
   anything to the contrary in these Assumption and Assignment Procedures, if the
   Trustee makes any reduction to a proposed Cure Payment or designates any
   Additional Assigned Contracts, the Trustee will provide at least seven days’ notice
   of any applicable Cure Objection Deadline if the relevant Contract Assumption
   Notice of Supplemental Assumption Notice is served by email or overnight mail,
   and at least ten days’ notice of any applicable Cure Objection Deadline if the
   relevant Contract Assumption Notice of Supplemental Assumption Notice is served
   by first class mail.

8. The deadline for objections to the proposed assumption and assignment of an
   Assigned Contract solely with respect to (i) the identity of the Successful Bidder or
   Successful Bidders or (ii) adequate assurance of future performance provided by the
   Successful Bidder or Successful Bidders shall be the Supplemental Sale Objection
   Deadline. Any objections must (1) be in writing, (2) comply with the applicable
   provisions of the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules, and
   (3) state with specificity the nature of the objection, and, if the objection pertains to
   the proposed amount of the Cure Payment, the correct cure amount alleged by the
   objecting counterparty, together with any applicable and appropriate
   documentation in support thereof.

9. If an objection to the Cure Payment or assumption and assignment is timely filed
   and not resolved by the parties, a hearing will take place at the Sale Hearing at 2:00


                                             4
21-22108-shl    Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41        Main Document
                                       Pg 43 of 89



   p.m. (prevailing Eastern Time) on December 20, 2022, or at a later hearing, as
   determined by the Trustee. A hearing regarding the Cure Payment, if any, may be
   continued at the discretion of the Trustee and the applicable Successful Bidder or
   Successful Bidders until after the closing of the Sale.

10. Any party failing to timely file an objection to the proposed Cure Payment, the
    proposed assumption and assignment of an Assigned Contract or Additional
    Assigned Contract listed on a Contract Assumption Notice or Supplemental
    Assumption Notice, or the Sale is deemed to have consented to (a) such Cure
    Payment, (b) the assumption and assignment of such Assigned Contract or
    Additional Assigned Contract (including the adequate assurance of future
    payment), (c) the related relief requested in the Motion, and (d) the Sale. Such party
    shall be forever barred and estopped from objecting to the Cure Payments, the
    assumption and assignment of the Assigned Contract, the Additional Assigned
    Contract, adequate assurance of future performance, the relief requested in the
    Motion, whether applicable law excuses such counterparty from accepting
    performance by, or rendering performance to, the Successful Bidder or Successful
    Bidders for purposes of section 365(c)(1) of the Bankruptcy Code and from asserting
    any additional cure or other amounts against the Trustee and the Successful Bidder
    or Successful Bidders, as applicable, with respect to such party’s Assigned Contract
    or Additional Assigned Contract.

11. After the Auction, the Trustee will file and serve as set forth in the Bid Procedures, a
    notice that identifies the Successful Bidder or Successful Bidders. The Trustee or any
    Successful Bidder reserve all of their rights, claims, and causes of action with respect
    to the contracts and agreements listed on Exhibit A hereto. Notwithstanding
    anything to the contrary herein, the proposed assumption and assignment of each of
    the Assigned Contracts listed on Exhibit A hereto (a) shall not be an admission as to
    whether any such Assigned Contract was executory or unexpired as of the Petition
    Date or remains executory or unexpired postpetition within the meaning of section
    365 of the Bankruptcy Code; and (b) shall be subject to the Trustee’s or any
    Successful Bidder’s right to conduct further confirmatory diligence with respect to
    the Cure Payment of each Assigned Contract and to modify such Cure Payment
    accordingly. In the event that the Trustee or the Successful Bidder determines that
    your Cure Payment should be modified, you will receive a notice, which will
    provide for additional time to object to such modification.

12. Any party desiring to receive any notices served by the Trustee in connection with
    the Sale process may make a written request to counsel to the Trustee, Togut, Segal
    & Segal LLP, Attn.: Frank A. Oswald, Esq. (frankoswald@teamtogut.com) and
    Amanda C. Glaubach, Esq. (aglaubach@teamtogut.com). In addition, copies of the
    Motion, the Bid Procedures Order, and this Sale Notice can be found on the Court’s
    website at https://www.nysb.uscourts.gov in accordance with the procedures and
    fees set forth therein.

13. Counterparties to any Assigned Contracts may submit their email addresses to the
    Trustee’s counsel, pursuant to paragraph 12 hereof to receive service via email of
    any of the following, to the extent so requested by email:



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21-22108-shl   Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41       Main Document
                                      Pg 44 of 89



   a. Upon the designation of any Stalking Horse Bidder, (i) the identity of any such
      Stalking Horse Bidder, (ii) whether the counterparty’s Assigned Contract is
      contemplated to be assumed and assigned under such Stalking Horse
      Agreement, and (iii) any such Stalking Horse Bidder’s non-confidential financial
      information within 24 hours of entry into any such Stalking Horse Agreement;
      provided that any Stalking Horse Bidder may be permitted to add or remove
      Assigned Contracts under the applicable Stalking Horse Agreement pursuant to
      the Assumption Procedures.

   b. The identity of all Qualified Bidders that submit Bids by the Bid Deadline, by no
      later than [__]:[__] p.m. (prevailing Eastern Time) on [___] [__], 2022, and in all
      events as soon as practicable after they are determined by the Trustee to be a
      Qualified Bidder, but no more than 12 hours after such determination; along
      with (ii) any non-confidential financial information included with the applicable
      Qualified Bid; and (iii) only if the Qualified Bidder agrees, a contact email
      address for each Qualified Bidder for the contract counterparty to be able to use
      to contact such Qualified Bidder if they have any questions for the Qualified
      Bidder; and

   c. (i) the identity of any Successful Bidder, (ii) whether the counterparty’s Assigned
      Contract is contemplated to be assumed and assigned under any Successful
      Bidder Purchase Agreement if and when known, and (iii) any non-confidential
      financial information from any such Successful Bidder as soon as practicable
      after the Auction, but no later than [__]:[__] (prevailing Eastern Time) on [___]
      [__], 2022.



                              [Concludes on Following Page]




                                            6
21-22108-shl   Doc 780   Filed 11/07/22 Entered 11/07/22 16:49:41   Main Document
                                     Pg 45 of 89



DATED: New York, New York
       [______] [___], 2022

                                            STEPHEN S. GRAY
                                            Not Individually But Solely in His
                                            Capacity as Chapter 11 Trustee
                                            By His Attorneys,
                                            TOGUT, SEGAL & SEGAL LLP
                                            By:

                                            DRAFT
                                            ALBERT TOGUT
                                            FRANK A. OSWALD
                                            BRYAN M. KOTLIAR
                                            AMANDA C. GLAUBACH
                                            One Penn Plaza, Suite 3335
                                            New York, New York 10119
                                            (212) 594-5000




                                        7
21-22108-shl   Doc 780   Filed 11/07/22 Entered 11/07/22 16:49:41   Main Document
                                     Pg 46 of 89



                                    EXHIBIT B

                         Redline of Revised Proposed Order
21-22108-shl   Doc 780   Filed 11/07/22 Entered 11/07/22 16:49:41   Main Document
                                     Pg 47 of 89



                                   EXHIBIT A

                           BID PROCEDURES ORDER

                             Revised Proposed Order
21-22108-shl        Doc 780       Filed 11/07/22 Entered 11/07/22 16:49:41          Main Document
                                              Pg 48 of 89



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         :   Chapter 11
                                                               :
96 WYTHE ACQUISITION LLC,                                      :   Case No. 21-22108 (SHL)
                                                               :
                                       Debtor.                 :
                                                               :
---------------------------------------------------------------x

                 ORDER (A) APPROVING BID PROCEDURES FOR
             THE SALE OF THE DEBTOR’S ASSETS; (B) ESTABLISHING
        PROCEDURES TO DESIGNATE A STALKING HORSE BIDDER AND
            ENTER INTO A STAKLING HORSE AGREEMENT WITH BID
      PROTECTIONS; (C) SCHEDULING AN AUCTION AND SALE HEARING;
        (D) APPROVING THE FORM AND MANNER OF NOTICE THEREOF;
        AND (E) APPROVING PROCEDURES FOR THE ASSUMPTION AND
           ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND
            UNEXPIRED LEASES; AND (F) GRANTING RELATED RELIEF

                 Upon the motion (the “Motion”)1 of Stephen S. Gray, not individually but

solely in his capacity as the Chapter 11 Trustee (the “Trustee”) of the estate of 96 Wythe

Acquisition LLC (the “Debtor”) in the above-captioned case (the “Chapter 11 Case”), for

entry of an order (this “Bid Procedures Order”), (a) approving the bid procedures

attached hereto as Exhibit 1 (the “Bid Procedures”) in connection with the Sale of the

Debtor’s Assets; (b) establishing procedures for the Trustee to designate a Stalking

Horse Bidder or Stalking Horse Budders with respect to certain or all of the Assets and

to enter into a Stalking Horse Agreement or Stalking Horse Agreements with a Break-

Up Fee and Expense Reimbursement (each as defined below, and together the “Bid

Protections”); (c) establishing certain dates and deadlines for the sale process, including

scheduling an Auction and the Sale Hearing; (d) approving the form and manner of



1
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in
    the Motion or the Bid Procedures (as defined below), as applicable.
21-22108-shl      Doc 780      Filed 11/07/22 Entered 11/07/22 16:49:41                Main Document
                                           Pg 49 of 89



notice of the Auction and Sale Hearing, substantially in the form attached hereto as

Exhibit 2 (the “Sale Notice”); (e) approving procedures for the assumption and

assignment of executory contracts and unexpired leases in connection with the Sale (the

“Assumption and Assignment Procedures”), including the form and manner of notice

of contract assumption, substantially in the form attached hereto as Exhibit 3 (the

“Contract Assumption Notice”); and (f) granting related relief; and it appearing that

this Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334

and the Amended Standing Order; and upon the Declaration of Emilio Amendola in

Support of Chapter 11 Trustee’s Bid Procedure Motion [Docket No. 771] (the

“Amendola Declaration”), filed on November 2, 2022; and it appearing that venue of

the Chapter 11 Case and the Motion in this district is proper pursuant to 28 U.S.C. §§

1408 and 1409; and it appearing that this matter is a core proceeding pursuant to 28

U.S.C. § 157(b); and the Court having considered the Amendola Declaration and

having heard the statements of counsel with respect to the Motion at a hearing (the

“Hearing”); and this Court having determined that the relief requested in the Motion

with respect to the entry of this Bid Procedures Order is in the best interests of the

Debtor, the estate, its creditors and other parties in interest; and it appearing that

proper and adequate notice of the Motion has been given and that, except as otherwise

ordered herein, no other or further notice is necessary; and after due deliberation

thereon; and good and sufficient cause appearing therefor:

                IT IS HEREBY FOUND AND DETERMINED THAT:2

        A.      This Court has jurisdiction to hear and determine the Motion and to


2
    The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions
    of law pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy
    Rule 9014. To the extent that any of the following findings of fact constitute conclusions of law, they



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21-22108-shl     Doc 780       Filed 11/07/22 Entered 11/07/22 16:49:41                Main Document
                                           Pg 50 of 89



grant the relief set forth herein pursuant to 28 U.S.C. §§ 157 and 1334. This is a core

proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before this Court

pursuant to 28 U.S.C. §§ 1408 and 1409.

       B.      The Trustee’s proposed notice of the Auction, the Sale and the other

matters to be considered at the Sale Hearing pursuant to the Sale Notice is

appropriate and reasonably calculated to provide all interested parties with timely

and proper notice of the Bid Procedures, Auction, Sale Hearing, and Sale.

       C.      The Bid Procedures are fair, reasonable, appropriate and are designed to

maximize the value of the Assets and recoveries to the Debtor’s estate, its creditors,

and other parties in interest.

       D.      The Trustee has demonstrated compelling and sound business

justifications for (i) the ability to designate a Stalking Horse Bidder or Stalking Horse

Bidders, and to enter into a Stalking Horse Agreement or Stalking Horse Agreements

with Bid Protections, which include (a) a break-up fee of 1%in the range of 1% to 3%

in the Trustee’s discretion, in consultation with the Consultation Parties, of the cash

consideration to be paid (the “Break-Up Fee”) and (b) reimbursement of reasonable,

documented and necessary out-of-pocket expenses incurred in connection with such

Stalking Horse Bid not to exceed $150,000 (the “Expense Reimbursement”) and (ii) the

Assumption and Assignment Procedures. The foregoing are fair, reasonable, and

appropriate under the circumstances.

       E.      The Sale Notice is appropriate and reasonably calculated to provide all

interested parties with timely and proper notice of the Bid Procedures, the Auction,



   are adopted as such. To the extent any of the following conclusions of law constitute findings of fact,
   they are adopted as such.



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21-22108-shl        Doc 780   Filed 11/07/22 Entered 11/07/22 16:49:41      Main Document
                                          Pg 51 of 89



the Sale Hearing, and the Sale free and clear of any liens, claims, interests, or

encumbrances pursuant to section 363(f) of the Bankruptcy Code (with such liens,

claims, interests, or encumbrances attaching to the proceeds of any such sale, which

shall be first applied to satisfy the Secured Lender in cash in full), and any and all

objection deadlines related thereto, and no other or further notice shall be required for

the Motion.

       F.      Based on the record before the Court, the Trustee has demonstrated

good and sufficient basis for the Court to approve the Motion as it relates to the entry

of this Bid Procedures Order.

               IT IS HEREBY ORDERED THAT:

               1.       The Motion is GRANTED to the extent set forth herein.

               2.       Any and all objections, including Toby Moskovits’ and Michael

Lichtenstein’s Limited Objection to Chapter 11 Trustee’s Sale Procedures Motion [Docket No.

772], filed on November 3, 2022, made relating to the Bid Procedures and the Motion

that have not been withdrawn or resolved prior to or at the Hearing are hereby

overruled on the merits with prejudice.

               2.3.     The Bid Procedures attached hereto as Exhibit 1 are hereby

approved in all respects.

               3.4.     Subject to the terms of this Order and the Bid Procedures, the

Trustee may, with the reasonable consent of the Secured Lender, at closing of the sale of

the Assets subject to the Stalking Horse Bid, make certain payments to the Stalking

Horse Bidder in consideration of its tendering the Stalking Horse Bid, including (a) a

break-up fee of 1%in the range of 1% to 3% in the Trustee’s discretion, in consultation

with the Consultation Parties, of the cash consideration to be paid (the “Break-Up Fee”)

and (b) reimbursement of reasonable, documented and necessary out-of-pocket

                                               4
21-22108-shl     Doc 780   Filed 11/07/22 Entered 11/07/22 16:49:41         Main Document
                                       Pg 52 of 89



expenses incurred in connection with such Stalking Horse Bid not to exceed $150,000

(the “Expense Reimbursement” and, together with the Break-Up Fee, the “Bid

Protections”).

               4.5.   If the Trustee designates a Stalking Horse Bidder or Stalking Horse

Bidders with respect to certain or all of the Assets, the Trustee shall promptly upon

execution of a Stalking Horse Agreement (and in no event more than one (1) calendar

day following such execution) shall file with the Court, and serve on the applicable

parties, a notice that contains: (a) the identity of the Stalking Horse Bidder or Stalking

Horse Bidders; (b) any connections the Stalking Horse Bidder or Stalking Horse

Bidders have with the Trustee, the Debtor’s Principals, including Toby Moskovits and

Michael Lichtenstein, or any affiliates including, but not limited to Northside

Acquisition, LLC, etc.; (c) the material terms of the Stalking Horse Bid, including the

Stalking Horse Agreement and the Bid Protections, and attaches the proposed Stalking

Horse Agreement (the “Notice of Stalking Horse Bidder”).

               5.6.   Any objections (each, a “Stalking Horse Objection”) to the

designation of a Stalking Horse Bidder, including any Bid Protections pursuant to the

terms and provisions of a Stalking Horse agreement, must (a) be in writing; (b) conform

to the applicable provisions of the Bankruptcy Rules, the Local Rules, and any orders of

this Court; (c) state with particularity the legal and factual basis for the objection and

the specific grounds therefor; and (d) be filed with the Court within ten (10) calendar

days after the filing of the relevant Notice of Stalking Horse Bidder, and served on

(i) counsel to the Trustee, Togut, Segal & Segal LLP, Attn.: Frank A. Oswald, Esq.

(frankoswald@teamtogut.com) and Amanda C. Glaubach, Esq.

(aglaubach@teamtogut.com); and (ii) co-counsel to the Secured Lender, Kramer Levin

Naftalis & Frankel LLP, Attn.: Adam C. Rogoff, Esq. (Arogoff@kramerlevin.com) and

                                              5
21-22108-shl     Doc 780     Filed 11/07/22 Entered 11/07/22 16:49:41        Main Document
                                         Pg 53 of 89



Nelson Mullins Riley & Scarborough, LLP, Attn.: Lee B. Hart, Esq.

(lee.hart@nelsonmullins.com).

               6.7.    If a timely Stalking Horse Objection is filed and served in

accordance with the preceding paragraph, the proposed Bid Protections will not be

deemed approved until the Stalking Horse Objection is resolved by agreement of the

objecting party, the Trustee, and the Secured Lender, or by order of the Court.

               7.8.    If no timely Stalking Horse Objection is filed and served with

respect to an applicable Stalking Horse Agreement in accordance with the Bid

Procedures, the Bid Protections shall be deemed approved without further order of the

Court upon the expiration of the objection deadline.

               8.9.    No other bidder, nor any party making a credit bid (irrespective of

whether it is a Stalking Horse Bidder) will be entitled to any Bid Protections or any

other expense reimbursement, break-up fee, termination fee or any other similar fee or

payment; provided, that neither the Bid Procedures Order nor the Bid Procedures shall

impair or prejudice the rights of the Secured Lender to collect its fees in accordance

with the Loan Agreement and related documents.

               9.10.   The Sale Notice substantially in the form attached hereto as

Exhibit 2 is approved. As soon as reasonably practicable, but in no event later than the

third (3rd) business day after entry of this Bid Procedures Order, the Trustee shall serve

or shall cause to be served the Sale Notice by e-mail (where available) or first-class mail

postage prepaid (if e-mail is not available) upon: (a) all entities reasonably known to

have expressed an interest in the acquisition, directly or indirectly, of the Assets; (b) all

entities known to have asserted any claims, liens, interests, or encumbrances on any of

the Assets; (c) the Office of the United States Trustee for the Southern District of New

York, Region 2 (the “U.S. Trustee”); (d) counsel to the Secured Lender; (e) the Internal

                                              6
21-22108-shl    Doc 780     Filed 11/07/22 Entered 11/07/22 16:49:41         Main Document
                                        Pg 54 of 89



Revenue Service; (f) all parties to executory contracts to be assumed and assigned, or

rejected as part of the Sale; (g) all other parties who have requested notice pursuant to

Bankruptcy Rule 2002 as of the date hereof.

               10.11. The procedures set forth herein regarding the assumption and

assignment of the executory contracts to be assumed by the Trustee pursuant to section

365(b) of the Bankruptcy Code and assigned to a Successful Bidder or Successful

Bidders in connection with the Sale (the “Assumption Procedures”) are hereby

approved. The Contract Assumption Notice substantially in the form attached hereto

as Exhibit 3 is approved.

               11.12. The Assumption Procedures shall govern the assumption and

assignment of all of the Trustee’s executory contracts and unexpired leases to be

assumed and assigned in connection with the Sale (each, an “Assigned Contract,” and,

collectively, the “Assigned Contracts”), subject to the payment of any payments

necessary to cure any defaults arising under any Assigned Contract (the “Cure

Payments”):

               a. Contract Assumption Notice. No later than three (3) business days
                  following entry of the Bid Procedures Order, (the “Assumption and
                  Assignment Service Deadline”), the Trustee shall serve a notice of
                  contract assumption in substantially the form of the Contract
                  Assumption Notice via first-class mail (or email where available) on:
                  (a) all counterparties to all potential Assigned Contracts; (b) all entities
                  reasonably known to have expressed an interest in the acquisition,
                  directly or indirectly, of the Assets; (c) all entities known to have
                  asserted any claims, liens, interests or encumbrances on any of the
                  Assets; (d) the Office of the United States Trustee for the Southern
                  District of New York, Region 2; (e) counsel to Benefit Street; (f) the
                  Internal Revenue Service; (g) all other parties who have requested
                  notice pursuant to Bankruptcy Rule 2002 as of the date hereof, and
                  provide a copy of the same to any Stalking Horse Bidder and the
                  Consultation Parties, which copy may be provided via email. The
                  Contract Assumption Notice shall inform each recipient of the timing
                  and procedures relating to the potential assumption and assignment of
                  the Assigned Contracts to a Successful Bidder or Successful Bidders
                  upon entry of the Sale Order, and, to the extent applicable, (i) Trustee’s

                                              7
21-22108-shl    Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41        Main Document
                                       Pg 55 of 89



                  good faith estimates of the Cure Payments (if any) required in
                  connection with the executory contract or unexpired lease, as
                  applicable, (ii) whether the potential Assigned Contract is anticipated
                  to be assumed and assigned to any Stalking Horse Bidder in
                  connection with a Stalking Horse Bid; (iii) the Cure Objection
                  Deadline; (iv) the Sale Objection Deadline; and (v) the Supplemental
                  Sale Objection Deadline; provided, however, that service of a Contract
                  Assumption Notice does not constitute an admission that any contract
                  is executory or that the stated Cure Payment related to any contract or
                  unexpired lease constitutes a claim against the estate or a right against
                  any Stalking Horse Bidder (all rights with respect thereto being
                  expressly reserved). Further, the inclusion of a contract or unexpired
                  lease, as applicable, on the Contract Assumption Notice is not a
                  guarantee that such contract or unexpired lease, as applicable, will
                  ultimately be assumed and assigned.

               b. Cure Payments and Adequate Assurance of Future Performance. The
                  payment of the applicable Cure Payments by any Successful Bidder
                  shall (i) effect a cure of all defaults existing thereunder and (ii)
                  compensate for any actual pecuniary loss to such counterparty
                  resulting from such default.

               c. Additions. The Trustee may also designate additional executory
                  contracts or unexpired leases as agreements to be assumed by the
                  Trustee and assigned to a Successful Bidder (the “Additional Assigned
                  Contracts”) until consummation of the Sale. Following the addition of
                  an Additional Assigned Contract, the Trustee shall as soon as
                  reasonably practicable thereafter serve a Contract Assumption Notice
                  on each of the counterparties to such Additional Assigned Contracts
                  and their counsel of record, if any, indicating (i) that the Trustee
                  intends to assume and assign the counterparty’s executory contract or
                  unexpired lease, as applicable, to the applicable Successful Bidder, and
                  (ii) the corresponding Cure Payment.

               d. Eliminations. The Trustee may remove any executory contract or
                  unexpired lease, as applicable, to be assumed by the Trustee and
                  assigned to a Successful Bidder (the “Eliminated Agreements”) until
                  consummation of the Sale. Following the removal of an Eliminated
                  Agreement, the Trustee shall, as soon as reasonably practicable
                  thereafter serve a notice (a “Removal Notice”) on each of the impacted
                  counterparties and their counsel of record, if any, indicating that the
                  Trustee no longer intends to assign the counterparty’s contract or
                  unexpired lease, as applicable, to the applicable Successful Bidder in
                  connection with the Sale.

               e. Supplemental Contract Assumption Notice. Although the Trustee
                  intends to make a good faith effort to identify all Assigned Contracts
                  that may be assumed and assigned in connection with the Sale, the
                  Trustee may discover certain executory contracts inadvertently

                                             8
21-22108-shl    Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41       Main Document
                                       Pg 56 of 89



                  omitted from the Assigned Contracts list or Successful Bidders may
                  identify other executory contracts that they desire to assume and
                  assign in connection with a Sale. Accordingly, the Trustee reserves the
                  right, but only in accordance with the Successful Bidder Purchase
                  Agreement (as defined in the Bid Procedures) or any Stalking Horse
                  Agreement, as applicable, or as otherwise agreed by the Trustee and
                  the Successful Bidder or Successful Bidders, any time after the closing
                  of the Sale and before the deadline for designation of additional
                  Assigned Contracts or removal of potentially Assigned Contracts set
                  forth in the Successful Bidder Purchase Agreement or any Stalking
                  Horse Agreement, to (i) supplement the list of Assigned Contracts
                  with previously omitted executory contracts, (ii) remove Assigned
                  Contracts from the list of executory contracts ultimately selected as
                  Assigned Contracts that a Successful Bidder proposed be assumed and
                  assigned to it in connection with a Sale, or (iii) modify the previously
                  stated Cure Payment associated with any Assigned Contracts. In the
                  event the Trustee exercises any of these reserved rights, the Trustee
                  will promptly serve a supplemental notice of contract assumption (a
                  “Supplemental Assumption Notice”) on each of the counterparties to
                  such contracts and their counsel of record, if any, and the Consultation
                  Parties; provided, however, the Trustee may not add an executory
                  contract to the list of Assigned Contracts that has been previously
                  rejected by the Trustee by order of the Court. Each Supplemental
                  Assumption Notice will include the same information with respect to
                  the list of Assigned Contracts that was included in the Contract
                  Assumption Notice, or in the event of removal, information required
                  in a Removal Notice.

               f. Objections. Objections, if any, to the proposed assumption and
                  assignment or the Cure Payment proposed with respect thereto, must
                  (i) be in writing, (ii) comply with the applicable provisions of the
                  Bankruptcy Rules and the Local Rules, (iii) state with specificity the
                  nature of the objection and, if the objection pertains to the proposed
                  amount of the Cure Payment, the correct cure amount alleged by the
                  objecting counterparty, together with any applicable and appropriate
                  documentation in support thereof, and (iv) be filed with the Court and
                  served upon, so as to be actually received by counsel to the Trustee
                  and counsel to the applicable Successful Bidder (if such counsel is
                  known), as applicable, on or before December 212, 2022 at 45:00 p.m.
                  (prevailing Eastern Time) (the “Cure Objection Deadline”), or such
                  deadline set forth in the applicable Supplemental Assumption Notice.

                  The deadline for objections to the proposed assumption and
                  assignment of an Assigned Contract solely with respect to (i) the
                  identity of the Successful Bidder or Successful Bidders or (ii) adequate
                  assurance of future performance provided by the Successful Bidder or
                  Successful Bidders shall be December 1216, 2022 at 4:00 p.m.
                  (prevailing Eastern Time) (the “Supplemental Sale Objection
                  Deadline”).

                                             9
21-22108-shl    Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41         Main Document
                                       Pg 57 of 89



               12.13. Any party failing to timely file an objection to the proposed Cure

Payment, the proposed assumption and assignment of an Assigned Contract or

Additional Assigned Contract listed on a Contract Assumption Notice or Supplemental

Assumption Notice, or the Sale is deemed to have consented to (a) such Cure Payment,

(b) the assumption and assignment of such Assigned Contract or Additional Assigned

Contract (including the adequate assurance of future payment), (c) the related relief

requested in the Motion, and (d) the Sale. Such party shall be forever barred and

estopped from objecting to the Cure Payments, the assumption and assignment of the

Assigned Contract, the Additional Assigned Contract, adequate assurance of future

performance, the relief requested in the Motion, whether applicable law excuses such

counterparty from accepting performance by, or rendering performance to, the

Successful Bidder or Successful Bidders for purposes of section 365(c)(1) of the

Bankruptcy Code and from asserting any additional cure or other amounts against the

Trustee and the Successful Bidder or Successful Bidders, as applicable, with respect to

such party’s Assigned Contract or Additional Assigned Contract.

               13.14. Unless otherwise provided in the Sale Order, the Trustee shall have

no liability or obligation with respect to defaults relating to the Assigned Contracts

arising, accruing, or relating to a period on or after the effective date of assignment.

               14.15. At the Sale Hearing, the Trustee shall (i) present evidence necessary

to demonstrate adequate assurance of future performance by the Successful Bidder or

the Stalking Horse Bidder, as applicable; and (ii) request entry of an order granting

approval of the assumption and assignment of any Assigned Contracts to the Successful

Bidder or the Stalking Horse Bidders, as applicable.




                                             10
21-22108-shl    Doc 780     Filed 11/07/22 Entered 11/07/22 16:49:41         Main Document
                                        Pg 58 of 89



               15.16. The Auction is scheduled for 1011:00 a.m. (ET) on December 614,

2022 to be conducted at a location to be determined, or at another place and time

designated by the Trustee in a prior written notice emailed to all Qualified Bidders.

               16.17. The deadline for objecting to the Sale of the Assets shall be 45:00

p.m. (ET) on December 212, 2022 (the “Sale Objection Deadline”), and the

supplemental objection deadline for the Sale of the Assets to the Successful Bidder or

Successful Bidders shall be 4:00 p.m. (ET) on December 1216, 2022 (the “Supplemental

Sale Objection Deadline”). All objections to the Sale must be: (a) in writing; (b) state

with specificity the basis of the objection, (c) signed by counsel or attested to by the

objecting party; (d) in conformity with the Bankruptcy Rules and the Local Rules;

(e) filed with the Court; and (f) served on (i) the U.S. Trustee, (ii) counsel for the Trustee,

Togut, Segal & Segal LLP, Attn.: Frank A. Oswald, Esq. (frankoswald@teamtogut.com)

and Amanda C. Glaubach, Esq. (aglaubach@teamtogut.com), and (iii) co-counsel to the

Secured Lender, Kramer Levin Naftalis & Frankel LLP, Attn.: Adam C. Rogoff, Esq.

(arogoff@kramerlevin.com) and Nelson Mullins Riley & Scarborough, LLP, Attn.: Lee B.

Hart, Esq. (lee.hart@nelsonmullins.com) so as to be actually received on or before the

Sale Objection Deadline.

               17.18. Failure to object to the relief requested in the Motion with respect

to the Sale by the Sale Objection Deadline shall be deemed a waiver of the right to object

to the Sale, and any party failing to object shall be forever barred from objecting to the

relief requested in the Motion with respect to the Sale.

               18.19. The Sale Hearing shall be held in this Court at [__]:2:00 [__].p.m.

(ET) on December [16],20, 2022. The Sale Hearing may be adjourned or continued from

time to time by the Court or the Trustee without further notice other than an



                                              11
21-22108-shl      Doc 780   Filed 11/07/22 Entered 11/07/22 16:49:41       Main Document
                                        Pg 59 of 89



announcement in open court or as indicated in any notice or hearing agenda that is filed

with the Court.

               19.20. Notwithstanding the possible applicability of Bankruptcy Rules

6004(h), 6006(d), 7062, or 9014 or any applicable provisions of the Bankruptcy Rules or

the Local Rules or otherwise stating the contrary, the terms of and conditions of this Bid

Procedures Order shall be immediately effective and enforceable upon its entry, and

any applicable stay of the effectiveness and enforceability of this Bid Procedures Order

is hereby waived.

               20.21. Prior to filing and serving the Sale Notice and the Contract

Assumption Notice, the Trustee may fill in any missing dates and other information,

conform the provisions thereof to the provisions of this Bid Procedures Order, and

make such other, non-material changes as the Trustee deems necessary or appropriate.

               21.22. The Trustee is authorized and empowered to take all actions

necessary to effectuate the relief granted in this Bid Procedures Order.

                              [Concludes on Following Page]




                                             12
21-22108-shl    Doc 780     Filed 11/07/22 Entered 11/07/22 16:49:41        Main Document
                                        Pg 60 of 89



               22.23. This Court retains jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, or enforcement of this Bid

Procedures Order.

 Dated: ______________, 2022
        New York, New York
                                             HONORABLE SEAN H. LANE
                                             UNITED STATES BANKRUPTCY JUDGE




                                             13
21-22108-shl   Doc 780   Filed 11/07/22 Entered 11/07/22 16:49:41   Main Document
                                     Pg 61 of 89



                                     Exhibit 1

                                The Bid Procedures
21-22108-shl        Doc 780       Filed 11/07/22 Entered 11/07/22 16:49:41              Main Document
                                              Pg 62 of 89



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         :   Chapter 11
                                                               :
96 WYTHE ACQUISITION LLC,                                      :   Case No. 21-22108 (SHL)
                                                               :
                                       Debtor.                 :
                                                               :
---------------------------------------------------------------x

                                            BID PROCEDURES

    I.       Overview

       On February 23, 2021 (the “Petition Date”), 96 Wythe Acquisition LLC (the
“Debtor”) commenced the above-captioned case (the “Chapter 11 Case”) by filing a
voluntary petition for relief under title 11 of the United States Code (the “Bankruptcy
Code”) in the United States Bankruptcy Court for the Southern District of New York
(the “Court”). On May 31, 2022, the Court approved the appointment of Stephen S.
Gray as the Chapter 11 Trustee (the “Trustee”) for the Debtor.1

       On [______] [__], 2022, the Court entered an order [Docket No. [__]] (the “Bid
Procedures Order”), approving these bid procedures (the “Bid Procedures”) and certain
other relief set forth in the Trustee’s motion [Docket No. [__]].2 These Bid Procedures set
forth the process by which the Trustee is authorized to solicit bids for and conduct an
auction (the “Auction”) for the sale (the “Sale”) of the Debtor’s assets (the “Assets”)
pursuant to section 363 of the Bankruptcy Code. In addition, at any time, the Trustee
may, but is not required to, designate one or more stalking horse bidder(s) with respect
to certain or all of the Assets (each, a “Stalking Horse Bidder”).

       Approval of the Sale may be considered by the Court together with or separate
from any hearing to confirm a chapter 11 plan of liquidation for the Debtor, and the
closing of the Sale (the “Sale Closing”) may be consummated pursuant to a chapter 11
plan or outside of a plan pursuant to sections 363 and 365 of the Bankruptcy Code.




1
    Following evidentiary hearings conducted on May 17 and 25, 2022 and post-hearing oral argument
    on May 26, on May 27, 2022 the Court entered its Order Granting Motions to Appoint a Chapter 11
    Trustee [Docket No. 591]. On May 31, 2022, the United States Trustee filed his Notice of Appointment of
    Chapter 11 Trustee [Docket No. 592] and filed an application for an order approving the appointment
    of Stephen S. Gray, as the Chapter 11 Trustee (the “Trustee”) of the estate of the Debtor [Docket No.
    593].
2
    Capitalized terms used but not otherwise defined herein, shall have the meanings ascribed to such
    terms in the Bid Procedures Order.
21-22108-shl      Doc 780       Filed 11/07/22 Entered 11/07/22 16:49:41                Main Document
                                            Pg 63 of 89



    II.     Description of the Assets

       The Trustee is offering for sale the Assets, which include substantially all of the
Debtor’s real and personal property, including, without limitation, the 10-story, 147-
room hotel located at 96 Wythe Avenue, Brooklyn, NY 11249 (the “Hotel”), and all
lands, estates, development rights, easements, improvements, rights-of-way or use,
improvements, equipment, fixtures, leases, rents, awards, refunds, rebates, credits,
agreements, contracts, certificates, instruments, franchises, permits, licenses, plans,
specifications and other documents relating to the occupation, construction,
management or operation of the Hotel and any part thereof, goodwill, books and
records and all other general intangibles relating to or used in connection with the
operation of the Hotel, and inventory and accounts receivables.

        The ownership of certain intellectual property used at or in connection with the
Assets is subject to dispute by the Debtor’s former management company and insiders.
Potential bidders may include such intellectual property in the Assets they seek to
purchase; however, in light of the dispute, the Trustee will deliver only the estate’s
right, title and interest in and to such intellectual property, if any, without any
representations or warranties whatsoever unless this dispute is resolved by the Court or
otherwise prior to the Auction.

       Except as otherwise provided in a Successful Bidder Purchase Agreement (as
defined below) or an order of the Court (including any exhibits or schedules thereto), all
of the Debtor’s right, title and interest in and to the Assets subject thereto shall be sold
free and clear of any liens, claims, interests, and encumbrances (collectively, the
“Interests”) to the maximum extent permitted by sections 363 and 1146 of the
Bankruptcy Code, with such Interests to attach to the proceeds of the Sale of the Assets
paid directly to the Trustee and Secured Lender at closing (through a title or escrow
agent as applicable) in accordance with the Secured Lender Settlement,3 and the portion
of which proceeds paid to the Trustee to be held by the Trustee pending the distribution
of such proceeds to holders of other liens in accordance with the priority of their
respective liens and otherwise subject to orders entered by the Court in the Chapter 11
Case, including without limitation the Secured Lender Settlement) with the same
validity and priority as such Interests applied against the Assets.

    III.    Bid Process

       The Trustee and his advisors, in consultation with the Consultation Parties (as
defined below) shall (a) determine whether any person is a Qualified Bidder, (b)
coordinate the efforts of Potential Bidders in conducting their due diligence
investigations, (c) receive offers from Potential Bidders, (d) negotiate any offers made to
purchase the Assets; and (e) determine if any Qualified Bidder should be selected as a
Stalking Horse Bidder in accordance with the procedures set forth below.


3
    The “Secured Lender Settlement” refers to that certain Settlement Agreement, dated as of September
    13, 2022 (as may be amended, modified, or restated) between the Trustee and the Secured Lender, a
    copy of which is attached as an exhibit to the Chapter 11 Trustee’s Application to Approve Settlement
    Agreement with Benefit Street Partners Operating Partnership, L.P., filed on September 13, 2022 [Docket
    No. 679].


                                                     2
21-22108-shl           Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41                Main Document
                                              Pg 64 of 89



      IV.          Key Dates for Potential Bidders

       The Bid Procedures provide interested parties with the opportunity to qualify for
and participate in the Auction and to submit competing bids for the Assets. The
Trustee and his advisors shall assist Potential Bidders in conducting their respective
due diligence investigations and shall accept Bids (as defined below) until December 2,
2022 at 4:00 p.m. (prevailing Eastern Time) (the “Bid Deadline”) for the Assets.

      All information (and bids) that must be provided under these Bid Procedures
must be provided to the Trustee’s Co-Brokers, A&G Real Estate Partners, LLC, Attn.:
Emilio Amendola (emilio@agrep.com) and Eastdil Secured, LLC, Attn.: Andy
Wimsatt (awimsatt@eastdilsecured.com) with a copy to:

            (i)       The Trustee, Stephen S. Gray (ssg@grayandcompanyllc.com);

            (ii)      counsel to the Trustee, Togut, Segal & Segal LLP, Attn.: Frank A. Oswald,
                      Esq. (frankoswald@teamtogut.com) and Amanda C. Glaubach, Esq.
                      (aglaubach@teamtogut.com); and


            (iii)     financial advisor to the Trustee, CohnReznick LLP, Attn.: Chris Creger
                      (Chris.Creger@CohnReznick.com) and Molly Jobe
                      (Molly.Jobe@CohnReznick.com).

            The key dates for the Sale process are as follows:4

                      Key Event                                          Deadline

    Bid Deadline                                  FridayMonday, December 212, 2022 at 45:00
                                                  p.m. (ET)

    Sale Objection Deadline                       FridayMonday, December 212, 2022 at 45:00
                                                  p.m. (ET)

    Proposed Assumption / Cure                    FridayMonday, December 212, 2022 at 45:00
    Amounts Objection Deadline                    p.m. (ET)

    Deadline for Trustee to notify                MondayTuesday, December 513, 2022 at 12:00
    bidders of their status as Qualified          p.m. (ET)
    Bidders

    Auction (if necessary)                        TuesdayWednesday, December 614, 2022 at
                                                  1011:00 a.m. (ET)

    File Notice of Successful Bidder              Thursday, December 815, 2022 at 4:00 p.m.
                                                  (ET)

4
      The Trustee reserves the right to modify the deadlines set forth herein (in consultation with the
      Consultation Parties).


                                                       3
21-22108-shl    Doc 780     Filed 11/07/22 Entered 11/07/22 16:49:41      Main Document
                                        Pg 65 of 89



                Key Event                                   Deadline

 Supplemental Sale Objection             MondayFriday, December 1216, 2022 at 4:00
 Deadline                                p.m. (ET)

 Adequate Assurance of Future            MondayFriday, December 1216, 2022 at 4:00
 Performance Objection Deadline          p.m. (ET)

 Sale Briefing and any Replies           ThursdayMonday, December 1519, 2022 at
                                         12:00 p.m. (ET)

 Sale Hearing                            FridayTuesday, December 1620, 2022 at [___]
                                         [_].2:00 p.m. (ET)

 Deadline for Sale Closing               Friday, December 30, 2022 at [____] [__].m.

   V.      Due Diligence

        A. Access to Diligence Materials

                  To participate in the bidding process and to receive access to due
           diligence (the “Diligence Materials”), a party, other than the Secured Lender,
           must submit to the Trustee (i) an executed confidentiality agreement in such a
           form reasonably satisfactory to the Trustee, unless such an agreement has
           been previously executed and (ii) reasonable evidence demonstrating the
           party’s financial capability to consummate a Sale, in cash, as reasonably
           determined by the Trustee. A party that qualifies for access to Diligence
           Materials pursuant to the prior sentence shall be a “Potential Bidder.” For the
           avoidance of doubt, the Secured Lender shall have access to Diligence
           Materials.

                   The Trustee will afford any Potential Bidder the time and opportunity
           to conduct reasonable due diligence, as determined by the Trustee, including
           access to the electronic data room and other information that a Potential
           Bidder may reasonably request; provided, however, that the Trustee shall not be
           obligated to furnish any due diligence information after the applicable Bid
           Deadline to any party that has not submitted a Qualified Bid. The availability
           of additional due diligence to a Qualified Bidder will cease on the Auction
           except in the sole discretion of the Trustee; provided, however, that any
           Successful Bidder shall be permitted to continue to conduct due diligence
           until the closing of the Sale. The Trustee reserves the right to withhold any
           Diligence Materials that the Trustee determines are necessary to protect
           attorney client privilege, are business-sensitive, competitively sensitive, or
           otherwise not appropriate for disclosure to a Potential Bidder that is a
           competitor of the Debtor or is affiliated with any competitor of the Debtor.
           Neither the Trustee nor his representatives shall be obligated to furnish
           information of any kind whatsoever to any person that is not determined to
           be a Potential Bidder.


                                            4
21-22108-shl     Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41        Main Document
                                        Pg 66 of 89



                  All due diligence requests must be directed to the attention of
            Trustee’s Co-Brokers, A&G Real Estate Partners, LLC, Attn.: Emilio
            Amendola (emilio@agrep.com) and Eastdil Secured, LLC, Attn.: Andy
            Wimsatt (awimsatt@eastdilsecured.com).

         B. Due Diligence from Potential Bidders

                   Each Potential Bidder shall comply with all reasonable requests for
            information and due diligence access by the Trustee or his advisors regarding
            the ability of such Potential Bidder to consummate a Sale.

         C. Communications with Potential Bidders

                    There must be no communications with respect to Bids (as defined
            below) or potential Bids between and amongst Potential Bidders, or between
            Potential Bidders and the Consultation Parties, unless the Trustee has
            previously authorized such communication in writing or with the
            participation of representatives of the Trustee or his advisors. Should any
            Potential Bidder attempt to communicate directly with a Consultation Party
            regarding a Bid or potential bid, such Consultation Party shall immediately
            direct the Potential Bidder to the Trustee’s counsel and financial advisors.
            The Trustee reserves the right, in his reasonable business judgment, to
            disqualify any Potential Bidders that have engaged in communications
            between or amongst themselves without the participation of the Trustee (or a
            representative of the Trustee) or the Trustee’s prior written consent. The
            Trustee further reserves the right, in his reasonable business judgment, to
            strip any Consultation Party that violates this provision of its consultation
            rights hereunder with approval of the Court.

   VI.      Qualified Bidder Status

          In order to be considered as a Qualified Bidder to participate in the Auction
   each Potential Bidder, must deliver to the Trustee and the Trustee’s advisors a
   written, irrevocable offer, solicitation or proposal (each, a “Bid”) prior to the Bid
   Deadline, that must be determined by the Trustee, in his reasonable business
   judgment, and in consultation with the Consultation Parties, to satisfy each of the
   following conditions; provided that the Trustee may waive any of the below
   requirements in the exercise of his reasonable business judgment in consultation
   with the Consultation Parties, to the extent that the Trustee reasonably believes that
   doing so will maximize the value of the Assets:

            a. Good Faith Offer: Each Bid must constitute a good faith, bona fide offer to
               purchase all or substantially all of the Assets. Any potential bidder
               seeking to purchase intellectual property from the Trustee shall itemize
               in its Bid specifically what intellectual property is included in its Bid and
               shall ascribe a value to such intellectual property.

            b. Purchase Price: All Bids (other than a credit bid by the Secured Lender)
               must be for cash to be paid at closing. The Bid must clearly set forth the


                                              5
21-22108-shl    Doc 780   Filed 11/07/22 Entered 11/07/22 16:49:41         Main Document
                                      Pg 67 of 89



               cash purchase price, and any other non-cash consideration (with the form
               of such consideration specified such as assumption of contract cure
               amounts), to be paid (the “Purchase Price”).

          c. Good Faith Deposit: Each Bid (other than a credit bid by the Secured
             Lender) must be accompanied by a deposit in the amount of ten (10%)
             percent of the cash consideration portion of the Purchase Price, before
             any reductions for assumed liabilities or other adjustments (the “Good
             Faith Deposit”). The Good Faith Deposit must come in the form of a wire
             transfer, certified check other form acceptable to the Trustee. Each Good
             Faith Deposit must be deposited prior to the Bid Deadline with the
             Trustee’s counsel as escrow holder (“Escrow Holder”).

          d. Executed Agreement: Each Bid (other than a credit bid by the Secured
             Lender) must be based on the proposed purchase agreement prepared by
             the Trustee in consultation with the Consultation Parties, which will be
             posted to the data room (the “Purchase Agreement”). Each Potential
             Bidder must provide a markup of the Purchase Agreement (each, a
             “Potential Bidder Purchase Agreement”). Each Potential Bidder Purchase
             Agreement must include forms of any other transaction documents,
             pursuant to which the Potential Bidder proposes to effectuate a Sale. To
             the extent applicable, each Bid must also include a copy of the Potential
             Bidder Purchase Agreement marked against the Purchase Agreement to
             show all changes requested by the Potential Bidder (including those
             related to the assumption and assignment of contracts and licenses, and
             other material terms such that the Trustee may determine how such Bid
             compares to the terms of competing Bids). Each Potential Bidder
             Purchase Agreement must provide a commitment to close within two
             business days after all closing conditions are satisfied.

          e. Designation of Assigned Contracts and Leases: A Bid must identify any and
             all executory contracts and unexpired leases that the Potential Bidder
             wishes to assume pursuant to the Sale. A Bid must state that the Potential
             Bidder will be responsible for any cure costs associated with such
             assumption, and include a good faith estimate of such cure costs (which
             estimate may be provided by the Trustee).

          f. Designation of Assumed Liabilities: A Bid must identify all liabilities that
             the Potential Bidder proposes to assume.

          g. Identity of Bidders; Purchase Participants: The identity of each entity that
             will be participating in connection with such Bid and taking ownership of
             the assets (including any equity owners or sponsors, if the Potential
             Bidder is an entity formed for the purpose of consummating the sale
             transaction) and a copy of a board resolution or similar document
             demonstrating the authority of the Potential Bidder to make a binding
             and irrevocable bid on the terms proposed and to consummate the
             transaction contemplated by the Bid and any connections with the
             Trustee, and the Debtor’s Principals, including Toby Moskovits and


                                            6
21-22108-shl    Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41       Main Document
                                       Pg 68 of 89



               Michael Lichtenstein, or any affiliates including, but not limited to
               Northside Acquisition LLC, etc. The provisions of this subsection (g)
               shall not apply to a credit bid tendered by the Secured Lender.

          h. Contact Information and Affiliates: A Bid must provide the identity and
             contact information for the Potential Bidder and full disclosure of any
             parent companies, controlling investors, or fund managers of the
             Potential Bidder.

          i. Proof of Financial Ability to Perform: A Bid (other than a credit bid by the
             Secured Lender) must include written evidence of available cash without
             contingency, executed commitment papers for financing (not subject to
             any conditions), and such other evidence of ability to consummate the
             transaction contemplated by the Bid and compliance with the Bid
             Procedures Order, the Bid Procedures in each case, as determined by the
             Trustee in his business judgment.

          j.   Conditions / Contingencies: A Bid must not be subject to further due
               diligence or any financing contingency.

          k. Bid Irrevocable: Subject to the following sentence with respect to the
             requirement to serve as a Backup Bidder, a Bid (other than a credit bid by
             the Secured Lender) must provide that it is irrevocable until two business
             days after the closing of the Sale; provided that if such Bid is accepted as
             the Successful Bid or the Backup Bid, such Bid shall continue to remain
             irrevocable as and to the extent provided in the Potential Bidder Purchase
             Agreement. Each Potential Bidder that submits a Bid further agrees that,
             if not chosen as a Successful Bidder, such Potential Bidder shall serve,
             without modification, as a Backup Bidder (as defined below) as may be
             designated by the Trustee at the Sale Hearing, in the event the relevant
             Successful Bidder with respect to a Sale fails to close as provided in the
             Successful Bidder Purchase Agreement, as modified, if at all, and the
             applicable Sale Order (as defined below).

          l. Consent to Jurisdiction: Each Potential Bidder must (i) submit to the
             jurisdiction of the Court to enter an order or orders, which shall be
             binding in all respects, in any way related to the Trustee, the Bid
             Procedures, any Auction, any Potential Bidder Purchase Agreement, or
             the construction and enforcement of documents relating to any Sale, (ii)
             waive any right to a jury trial in connection with any disputes relating to
             the Trustee, the Bid Procedures, any Auction, any Potential Bidder
             Purchase Agreement, or the construction and enforcement of documents
             relating to any Sale, and (iii) commit to the entry of a final order or
             judgment in any way related to the Trustee, the Bid Procedures, any
             Auction, any Potential Bidder Purchase Agreement, or the construction
             and enforcement of documents relating to any Sale Transaction if it is
             determined that the Court would lack Article III jurisdiction to enter such
             a final order or judgment absent the consent of the parties.



                                             7
21-22108-shl      Doc 780       Filed 11/07/22 Entered 11/07/22 16:49:41                 Main Document
                                            Pg 69 of 89



             m. No Bid Protections: Except with respect to any Stalking Horse Bidder
                designated by the Trustee with the consent of the Secured Lender as
                provided for herein, a Bid must not entitle the Potential Bidder to any
                break-up fee, termination fee, transaction fee, expense reimbursement, or
                any similar type of payment or reimbursement and, by submitting a Bid,
                the Potential Bidder waives the right to pursue a substantial contribution
                claim under 11 U.S.C. § 503 related in any way to the submission of its
                Bid or participation in any Auction. Each Potential Bidder (other than the
                Secured Lender) presenting a Bid will bear its own costs and expenses
                (including legal fees) in connection with any proposed Sale.

             n. Acknowledgement of Chapter 11 Plan: Each bid must acknowledge that the
                Sale may close under and pursuant to a chapter 11 plan for the Debtor;
                provided that if the Trustee is unable to confirm a chapter 11 plan, the Sale
                may be consummated outside of a chapter 11 plan, pursuant to section
                363 of the Bankruptcy Code.

           A Bid received from a Potential Bidder prior to the applicable Bid Deadline
    that meets the above requirements, as determined by the Trustee in his sole
    discretion, shall constitute a “Qualified Bid” for such Assets (and such Potential
    Bidder, a “Qualified Bidder”); provided that if the Trustee receives a Bid prior to the
    Bid Deadline that is not a Qualified Bid, the Trustee may, after consultation with the
    Consultation Parties, provide the Potential Bidder with the opportunity to remedy
    any deficiencies prior to the Auction. Any Stalking Horse Bidder will be deemed a
    Qualified Bidder at all times. For the avoidance of doubt, a Bid submitted after the
    Bid Deadline (other than a credit bid by the Secured Lender) shall not be a Qualified
    Bid.

          In addition, the Secured Lender shall be a Qualified Bidder and shall be
    permitted to credit bid up to the Senior Secured Amount (as defined in the Secured
    Lender Settlement) at the Auction.5

            The Secured Lender shall not be required to comply with the requirement of
    this Section prior to the Auction. To the extent the Secured Lender submits a credit
    bid at the Auction, such credit bid shall comply with this Section VI (a),(h), and (j)-(l)
    (unless specifically stated otherwise in such sections) and shall include cash
    consideration in an amount equal to the Bid Protections granted to a Stalking Horse
    Bidder.

           For the avoidance of doubt, and as reflected in the section titled “The
    Consultation Parties” below, in the event that the Secured Lender elects to
    participate at the Auction as a Qualified Bidder, the Secured Lender shall no longer
    be a Consultation Party with respect to the Assets such party or parties bid upon at
    the Auction; provided that if the Secured Lender elects to submit a Bid as a
    Qualified Bidder, it must so elect (i) at or prior to the commencement of the Auction

5
    For illustrative purposes, the Secured Lender Settlement Provides that the Senior Secured Amount
    consists of $$95,952,130.52 (calculated as of August 14, 2022), plus subsequently accruing interest at
    the contract rate, expenses and legal fees accruing thereafter.


                                                     8
21-22108-shl   Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41        Main Document
                                      Pg 70 of 89



   and only after receiving the initial bids for the Auction selected by the Trustee in
   consultation with the Consultation Parties; or (ii) if, after receiving the initial bids
   and after the commencement of the Auction, such initial bids are altered or modified
   during the Auction to the extent that such alteration or modification adversely
   impacts the value of the Secured Lender’s collateral; provided, however, that in no
   event shall any Qualified Bidder be permitted to reduce the aggregate amount of
   consideration of their Bid after the applicable Bid Deadline. If the Secured Lender
   withdraws as a bidder at the Auction and is not the Successful Bidder or Back-Up
   Bidder, such parties shall resume their full role as a Consultation Party.

          Within one (1) day after the Bid Deadline, the Trustee and his advisors (in
   consultation with the Consultation Parties) will determine which Potential Bidders
   are Qualified Bidders and whether Bids submitted constitute Qualified Bids. Any
   Bid that is not deemed a Qualified Bid will not be considered by the Trustee. Any
   Stalking Horse Agreement submitted by a Stalking Horse Bidder will be deemed a
   Qualified Bid, qualifying such Stalking Horse Bidder to participate in the Auction.
   To the extent there is any dispute regarding whether a Bid submitted prior to the
   Bid Deadline is a Qualified Bid, such dispute may be raised with the Court on an
   expedited basis prior to the commencement of the Auction. If any Bid is determined
   by the Trustee not to be a Qualified Bid, the Trustee will refund such Potential
   Bidder’s Good Faith Deposit on or within five (5) business days after the Bid
   Deadline.

            Prior to the Auction, the Trustee and his advisors, in consultation with the
   Consultation Parties, will evaluate Qualified Bids and identify the Qualified Bid that
   is, in the Trustee’s reasonable business judgment, the highest or otherwise best bid
   (the “Starting Bid”) with respect to a proposed Sale. In making such determination,
   the Trustee will take into account, among other things, the execution risk of non-
   consummation attendant to any submitted Qualified Bids. No later than 24 hours
   before the start of the Auction, the Trustee will notify each Qualified Bidder who has
   timely submitted a Bid with respect to a Sale that its Bid is a Qualified Bid so as to
   enable such Qualified Bidders to bid at the Auction. As soon as practicable prior to
   the Auction the Trustee will further (a) notify each Qualified Bidder who has
   submitted a Qualified Bid and the Consultation Parties as to which Qualified Bid is
   the Starting Bid with respect to a Sale; and (b) distribute copies of the Potential
   Bidder Purchase Agreement(s) or any Stalking Horse Agreement, as applicable,
   associated with such Starting Bid(s) to each Qualified Bidder who has submitted a
   Qualified Bid with respect to a Sale and to the Consultation Parties.

          By submitting its Bid, each Potential Bidder is agreeing with each other
   Potential Bidder to abide by and honor the terms of these Bid Procedures and agrees
   not to submit a bid or seek to reopen the Auction after such Auction.

   VII.   Procedures for the Designation of a Stalking Horse Bidder and Bid
          Protections

      Prior to the commencement of the Auction, the Trustee, in the exercise of his
reasonable business judgment, with the reasonable consent of the Secured Lender, may
designate one or more minimum acceptable bids as a stalking horse purchaser with


                                            9
21-22108-shl   Doc 780     Filed 11/07/22 Entered 11/07/22 16:49:41       Main Document
                                       Pg 71 of 89



respect to certain or all of the Assets (each, a “Stalking Horse Bid”) and provide any
such Stalking Horse Bidder with Bid Protections (as defined below) pursuant to an
agreement with such Stalking Horse Bidder (the “Stalking Horse Agreement”); provided
that no insider or affiliate of the Debtor or the Debtor’s former management company,
the Williamsburg Hotel BK LLC shall be entitled to any Bid Protections. Any dispute
among the Trustee and the Consultation Parties with respect to the designation of a
Stalking Horse Bidder may be resolved by the Court.

       If the Trustee designates a Stalking Horse Bidder or Stalking Horse Bidders with
respect to certain or all of the Assets, the Trustee shall promptly upon execution of a
Stalking Horse Agreement (and in no event more than one (1) calendar day following
such execution) shall file with the Court, and serve on the applicable parties, a notice
that contains: (a) the identity of the Stalking Horse Bidders or Stalking Horse Bidders;
(b) any connections the Stalking Horse Bidder or Stalking Horse Bidders have with the
Trustee, the Debtor’s Principals, including Toby Moskovits and Michael Lichtenstein, or
any Affiliates including, but not limited to Northside Acquisition, LLC, etc.; (c) the
material terms of the Stalking Horse Bid, including the Stalking Horse Agreement and
the Bid Protections, and attaches the proposed Stalking Horse Agreement (the “Notice
of Stalking Horse Bidder”).

        The Trustee may, with the reasonable consent of the Secured Lender, at closing
of the sale of the Assets subject to the Stalking Horse Bid, make certain payments to the
Stalking Horse Bidder in consideration of its tendering the Stalking Horse Bid,
including (a) a break-up fee of 1% of the cash consideration to be paid (the “Break-Up
Fee”) and (b) reimbursement of reasonable, documented and necessary out-of-pocket
expenses incurred in connection with such Stalking Horse Bid not to exceed $150,000
(the “Expense Reimbursement” and, together with the Break-Up Fee, the “Bid
Protections”).

        Any objections (each, a “Stalking Horse Objection”) to the designation of a
Stalking Horse Bidder, including any Bid Protections, pursuant to the terms and
provisions of a Stalking Horse Agreement, must (a) be in writing; (b) conform to the
applicable provisions of the Bankruptcy Rules, the Local Rules, and any orders of this
Court; (c) state with particularity the legal and factual basis for the objection and the
specific grounds therefor; and (d) be filed with the Court within ten (10) calendar days
after the filing of the relevant Notice of Stalking Horse Bidder, and served on (i) counsel
to the Trustee, Togut, Segal & Segal LLP, Attn.: Frank A. Oswald, Esq.
(frankoswald@teamtogut.com) and Amanda C. Glaubach, Esq.
(aglaubach@teamtogut.com); and (ii) co-counsel to the Secured Lender, Kramer Levin
Naftalis & Frankel LLP, Attn.: Adam C. Rogoff, Esq. (Arogoff@kramerlevin.com) and
Nelson Mullins Riley & Scarborough, LLP, Attn: Lee B. Hart, Esq.
(lee.hart@nelsonmullins.com).

       If a timely Stalking Horse Objection is filed and served in accordance with the
preceding paragraph, the proposed Bid Protections will not be deemed approved until
the Stalking Horse Objection is resolved by agreement of the objecting party, the
Trustee and the Secured Lender, or by order of the Court.




                                            10
21-22108-shl    Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41        Main Document
                                       Pg 72 of 89



       If no timely Stalking Horse Objection is filed and served with respect to an
applicable Stalking Horse Agreement in accordance with the Bid Procedures, the Bid
Protections shall be deemed approved without further order of the Court upon the
expiration of the objection deadline.

       No other bidder, nor any party making a credit bid (irrespective of whether it is a
Stalking Horse Bidder) will be entitled to any Bid Protections or any other expense
reimbursement, break-up fee, termination fee or any other similar fee or payment;
provided, that neither the Bid Procedures Order nor the Bid Procedures shall impair or
prejudice the rights of the Secured Lender to collect its fees in accordance with the Loan
Agreement and related documents.

        For the avoidance of doubt, the Trustee is not required to designate a Stalking
Horse Bidder or Stalking Horse Bidders, and may proceed to open the Auction without
first designating a Stalking Horse Bidder or Stalking Horse Bidders as set forth below.

   VIII. Auction

        If two or more Qualified Bids with respect to all of the Assets or individual
Assets are received by the Bid Deadline (or the Secured Lender tenders a Bid as
provided for herein), the Trustee will conduct the Auction to determine the highest or
otherwise best Qualified Bid with respect to such Assets. This determination shall take
into account any factors the Trustee (in consultation with the Consultation Parties)
reasonably deems relevant to the value of the Qualified Bid to the estates and may
include, but are not limited to, the following: (a) the amount and nature of the cash
consideration and assumed liabilities; (b) the number, type and nature of any changes
to the Purchase Agreement requested by each Qualified Bidder; (c) the extent to which
such modifications or provisions are likely to delay closing of the Sale of the Assets and
the cost to the estate of such modifications or delay, and whether such modifications
increase the risk of non-consummation; (d) which Assets the Qualified Bid covers and
the likelihood that any other potential bidders would have interest in separately
acquiring remaining Assets; (e) the total consideration to be received by the estate; (f)
the likelihood of the Qualified Bidder’s ability to close a transaction and the timing
thereof; (g) the net benefit to the estate, taking into account, if applicable, any Stalking
Horse Bidder’s right to any Break-Up Fee or Expense Reimbursement or similar fee; (h)
the impact on employees, the number or percentage of employees to be retained post-
closing, employee claims against the Debtor’s estate; (i) in a Sale seeking to acquire only
certain Assets, the execution risk and additional costs related to separate documentation
regarding the sale(s), if any, of the remaining Assets; and (j) any other qualitative or
quantitative factor the Trustee deems reasonably appropriate under the circumstances
(collectively, the “Bid Assessment Criteria”).

       If two or more Qualified Bids are not received by the Bid Deadline (or, in the case
of the Secured Lender, as provided for herein), the Trustee may, after consulting with
the Consultation Parties, determine not to conduct the Auction. If only one Qualified
Bid with respect to a Sale is received by the Bid Deadline, the Trustee may, after
consulting with the Consultation Parties, select the Potential Bidder Purchase
Agreement or Stalking Horse Agreement, as applicable, of such Qualified Bidder to be
the Successful Bid and such Qualified Bidder shall be the Successful Bidder with respect


                                            11
21-22108-shl   Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41        Main Document
                                      Pg 73 of 89



to the applicable Sale, provided that the Trustee may not select a Successful Bid that
provides total cash consideration less than the maximum credit bid then available to the
Secured Lender absent the prior written consent of the Secured Lender.

       In the event that two or more Qualified Bids are submitted in accordance with
these Bid Procedures, the Trustee shall conduct the Auction. The Auction will take
place at 10:00 a.m. (prevailing Eastern Time) on December 6, 2022 (such date, or such
other date allowed under these Bid Procedures as the Trustee may notify any Qualified
Bidder who has submitted a Qualified Bid, and counsel to the Secured Lender, the
“Auction Date”) and be held at a location to be determined. The Auction shall be
recorded. Only a Qualified Bidder that has submitted a Qualified Bid (including any
Stalking Horse Bidder or Stalking Horse Bidders) will be eligible to participate at the
Auction, subject to such limitations as the Trustee may impose in good faith. A
reasonable number of representatives of the professional advisors of any Qualified
Bidder will be permitted to attend and observe the Auction. The Trustee may, in the
exercise of his business judgment, with the consent of the Secured Lender, adjourn the
Auction.

      A. Auction Bid Submission Procedures

      Auction bidding shall be subject to the following procedures:

          a. For a Qualifying Bid to be considered and in order for a Qualifying
             Bidder to further bid at the Auction, Qualifying Bidders must appear at
             the Auction, or through a duly authorized representative, unless
             alternative arrangements are agreed upon in advance by the Trustee.

          b. Only Qualifying Bidders shall be entitled to make any subsequent bids at
             the Auction.

          c. Bidding will commence with the announcement of the highest or best
             Qualifying Bid, which shall be determined solely by the Trustee in his
             business judgment, in consultation with the Consultation Parties. Any
             Qualifying Bidder may then submit successive bids in minimum
             increments of no less than $500,000, provided that if a Stalking Horse
             Bidder is selected the initial overbid shall also include the Bid Protections
             (the “Minimum Overbid Amount”).

          d. If one or more Qualifying Bids are received by the Trustee, each such
             Qualifying Bidder shall have the right to improve its respective bid at the
             Auction.

          e. Other than a credit bid submitted by the Secured Lender, each successive
             bid submitted by any bidder at the Auction must contain an actual cash
             purchase price that exceeds the then existing highest bid by at least the
             Minimum Overbid Amount. At commencement of the Auction, the
             Trustee may announce procedural and related rules governing the
             Auction, including time periods available to all Qualifying Bidders to



                                           12
21-22108-shl    Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41        Main Document
                                       Pg 74 of 89



               submit successive bid(s) in an amount equivalent to at least the Minimum
               Overbid Amount.

      B. Selection of Highest or Otherwise Best Bid

           At the Auction, the Trustee, in consultation with the Consultation Parties, will
   be permitted to request best and final offers from the Qualified Bidders (including
   any Stalking Horse Bidders). The Trustee, in consultation with the Consultation
   Parties, may identify the highest or otherwise best Qualified Bid(s) as the successful
   bid(s) (such Bid, the “Successful Bid,” the Qualified Bidder submitting such
   Successful Bid, the “Successful Bidder” and the Qualified Bidder’s purchase
   agreement, the “Successful Bidder Purchase Agreement”) with respect to the Sale.
   The Auction shall close when a Successful Bidder submits fully executed sale and
   transaction documents memorializing the terms of the Successful Bid with respect to
   the Sale. Notwithstanding anything herein to the contrary, the Trustee may, in his
   reasonable business judgment and in consultation with the Consultation Parties, at
   any time announce the conclusion of the Auction.

          Promptly following the conclusion of the Auction, the Trustee shall announce
   the Successful Bid or Successful Bids and Successful Bidder or Successful Bidders
   with respect to the Sale and shall file with the Court notice of such Successful Bid or
   Successful Bids and Successful Bidder or Successful Bidders. The Trustee shall serve
   such notice by email (where available) and overnight mail (where email is
   unavailable) on counterparties to Assumed Contracts that are to be assumed and
   assigned in connection with such Successful Bid or Successful Bids.

          For the avoidance of doubt, the Trustee may, with the prior consent of the
   Secured Lender (which may be granted or withheld at its discretion), withdraw the
   Assets at issue, from the Sale at any time before or during the Auction, and to make
   subsequent attempts to market the same, if the Trustee, with the prior consent of the
   Secured Lender (which may be granted or withheld at its discretion), determines
   that highest or otherwise best Qualified Bid is not acceptable to the Trustee.

      C. Designation of Backup Bidder

           Notwithstanding anything in the Bid Procedures to the contrary, if an
   Auction is conducted with respect to a Sale Transaction, the Qualified Bidder with
   the next highest or otherwise best Bid with respect to the Sale at the Auction, as
   determined by the Trustee (in consultation with the Consultation Parties), in the
   exercise of his business judgment, will be designated as the backup bidder (the
   “Backup Bidder”) for the Sale. The Backup Bidder shall be required to keep its
   Qualified Bid (or if the Backup Bidder submitted one or more Overbids at the
   applicable Auction, the Backup Bidder’s final Overbid) (the “Backup Bid”) open and
   irrevocable until the earlier of (i) 5:00 p.m. (prevailing Eastern Time) on the date that
   is at least 60 calendar days after the date of entry of the Sale Order (the “Outside
   Backup Date”), or (ii) the closing of the transaction with the Successful Bidder.

         Following the Sale Hearing, if the Successful Bidder fails to consummate an
   approved transaction with respect to the Assets that are the subject of the Successful


                                            13
21-22108-shl   Doc 780     Filed 11/07/22 Entered 11/07/22 16:49:41        Main Document
                                       Pg 75 of 89



   Bid, the Backup Bidder will be deemed to have the new prevailing Bid with respect
   to such Assets, and the Trustee will be authorized, but not required, without further
   order of the Court, to consummate the transaction with the Backup Bidder with
   respect to such Assets.

          In the event that a Successful Bidder does not consummate the Sale and a
   Backup Bidder(s) has been previously identified, the Trustee shall (1) file and serve a
   Notice of Intent to Proceed with Backup Bid, and (2) schedule a telephonic status
   conference, which may be expedited, upon reasonable notice under the
   circumstances, at which time a briefing and hearing schedule will be established for
   those landlords and counterparties to executory contracts that do not consent to the
   proposed assumption and assignment to the Backup Bidder(s) solely with respect to
   issues relating to adequate assurance. The Backup Bidder(s), as identified in the
   Notice of Successful Bidder, shall be approved at the Sale Hearing in all respects
   other than with respect to issues relating to adequate assurance, and affected
   landlords and other contract counterparties shall not be required to object to the
   Backup Bidder(s) on adequate assurance grounds prior to the filing and service of
   the Notice of Intent to Proceed with Backup Bid.

   IX.    Sale Hearing

        The Successful Bid (including any Backup Bid that is subsequently deemed a
Successful Bid) will be subject to Court approval. A hearing to consider approval of the
Successful Bid with respect to the Sale in the accordance with these Bid Procedures (the
“Sale Hearing”) is presently scheduled to take place on December [16],20, 2022, at
[__]:2:00 [_].p.m. (prevailing Eastern Time).

       At the Sale Hearing the Trustee will present the Successful Bid or Successful Bids
to the Court for approval.

       The Sale Hearing may be adjourned by the Trustee in consultation with the
Consultation Parties and the Successful Bidder, from time to time, upon the filing of a
notice of adjournment with the Court.

      If no Backup Bidder is selected and the Successful Bidder fails to close, or if the
Backup Bidder fails to close, the Trustee may submit a proposed order to the Court to
approve the closing of a sale to the Secured Lender via a credit bid without further
hearing provided that the Court has approved a credit bid by the Secured Lender as a
Backup Bid.

   X.      Return of Good Faith Deposits

       The Good Faith Deposits of all Qualified Bidders (including any Stalking Horse
Bidders) will be held in escrow by the Escrow Holder and while held in escrow will not
become property of the estate unless released to the Trustee from escrow pursuant to
terms of the applicable escrow agreement or pursuant to further order of the Court.
The Escrow Holder will retain the Good Faith Deposits of the Successful Bidder until
the closing of the sale transactions in respect of such Successful Bid unless otherwise
ordered by the Court. The Good Faith Deposits of the Qualified Bidders other than the


                                            14
21-22108-shl   Doc 780     Filed 11/07/22 Entered 11/07/22 16:49:41       Main Document
                                       Pg 76 of 89



Successful Bidder will be returned no later than five (5) Business Days after the date of
the Closing of the Sale. If the Backup Bidder is not designated the Successful Bidder
with respect to a Sale Transaction, the Good Faith Deposit of such Backup Bidder, if
any, shall be returned to the Backup Bidder on the date that is the earlier of 72 hours
after (a) the closing of the applicable transaction with the Successful Bidder and (b) the
Outside Backup Date with respect to such transaction. At the closing of the sale
transactions contemplated by the Successful Bid, the Successful Bidder will be entitled
to a credit for the amount of its Good Faith Deposit. Upon the return of the Good Faith
Deposits, their respective owners will receive any and all interest that has accrued
thereon.

   XI.    “As Is, Where Is” Sale

       Any Sale will be on an “as is, where is” basis and without representations or
warranties of any kind by the Trustee, his representatives, or the estate, except and
solely to the extent expressly set forth in the final purchase agreement approved by the
Court. Each Qualified Bidder will be required to acknowledge and represent that it has
had an opportunity to conduct any and all due diligence regarding the Assets that are
the subject of the Auction prior to making its bid and that it has relied solely upon its
own independent review and investigation in making its bid. Except as may be set
forth in the applicable Successful Bidder Purchase Agreement or the applicable Sale
Order, the Assets are sold free and clear of any liens, claims, interests, or encumbrances
of any kind of nature to the fullest extent permissible under the Bankruptcy Code, with
such liens, claims, interests, or encumbrances to attach to the proceeds of sale paid
directly to the Trustee and Secured Lender at closing (through a title or escrow agent, as
applicable) in accordance with the Secured Lender Settlement, and the portion of which
proceeds paid to the Trustee to be held by the Trustee pending distribution of such
proceeds to holders of other liens in accordance with the priority of their respective
liens and otherwise subject to orders entered by the Court in the Chapter 11 Case,
including without limitation the Secured Lender Settlement, with the same validity and
priority as such interests applied against the Assets.

   XII.   The Consultation Parties

       The Trustee shall consult with the Secured Lender and the Secured Lender’s
advisors (the “Consultation Parties”) with respect to any Bids, as explicitly provided for
in the Bid Procedures; provided, however, that the Trustee shall not be required to
consult with the Secured Lender if the Secured Lender formally submits a credit bid at
or prior to the Auction.

        In addition, the Trustee will (a) provide the Consultation Parties (i) continued
access to the Trustee’s advisors, including access to sale and marketing materials, and
consultation with the Trustee on the marketing process; and (ii) copies of all Bids and
letters of intent as soon as reasonably practicable but in no event later than twenty-four
(24) hours following the Trustee’s receipt of the same; and (b) consult with the
Consultation Parties with respect to all Bids received; provided, however, that if the
Secured Lender submits a Bid, formally declaring its intention to be a Qualified Bidder,
or elects at or prior to the Auction to be a Qualified Bidder, the Trustee shall not be
required to provide such copies of Bids or letters of intent to the Secured Lender and


                                            15
21-22108-shl   Doc 780     Filed 11/07/22 Entered 11/07/22 16:49:41       Main Document
                                       Pg 77 of 89



instead shall provide such information to the Secured Lender’s counsel, on an advisors’-
eyes-only basis, who shall keep such information confidential without the express prior
written consent of the Trustee.

   XIII. Supplementation of Bid Procedures

       The Trustee in his business judgment (in consultation with the Consultation
Parties) may supplement these Bid Procedures with any terms or procedures that are
reasonable and enhance the auction processes and/or clarifies any matters not currently
delineated herein.

   XIV. Trustee’s Reservation of Rights

        Except as otherwise provided in the Purchase Agreement, any Stalking Horse
Agreement, the Bid Procedures, or the Bid Procedures Order, the Trustee (in
consultation with the Consultation Parties) further reserves the right as he may
reasonably determine to be in the best interest of the estate and in the exercise of his
fiduciary duties to: (a) determine which bidders are Qualified Bidders; (b) determine
which bids are Qualified Bids; (c) determine whether to enter into a Stalking Horse
Agreement; (d) determine which Qualified Bid is the highest or otherwise best proposal
and which is the next highest or otherwise best proposal with respect to the Sale;
(e) reject any Bid that is (1) not in conformity with the requirements of the Bid
Procedures or the requirements of the Bankruptcy Code, the Bankruptcy Rules, the
Local Bankruptcy Rules, or the Bid Procedures, or (2) contrary to the best interests of the
estate, creditors, interest holders, or parties-in-interest; (f) waive terms and conditions
set forth herein otherwise applicable to all potential bidders other than the requirement
that all bids be for cash and assumed liabilities other than the credit bids, and except as
otherwise expressly set forth herein with respect to the Bids of the Secured Lender;
(g) impose additional terms and conditions with respect to all potential bidders (except
as otherwise expressly set forth herein with respect to the Bids of the Secured Lender;
(h) modify the deadlines set forth herein subject to any ruling or order entered by the
Court, or to accommodate the Court’s calendar; (i) continue or cancel the Auction
and/or Sale Hearing in open court without further notice; and (j) modify the Bid
Procedures and implement additional procedural rules that the Trustee determines, in
his business judgment, after consulting with the Consultation Parties, will better
promote the goals of the bidding process and discharge the Trustee’s fiduciary duties
and are not inconsistent with any Court order.

       Nothing in these Bid Procedures shall prejudice the substantive rights of any
party, including with respect to the Trustee’s evaluation of any Bid.




                                            16
21-22108-shl   Doc 780   Filed 11/07/22 Entered 11/07/22 16:49:41   Main Document
                                     Pg 78 of 89



                                     Exhibit 2

                                 The Sale Notice
21-22108-shl        Doc 780       Filed 11/07/22 Entered 11/07/22 16:49:41              Main Document
                                              Pg 79 of 89



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         :   Chapter 11
                                                               :
96 WYTHE ACQUISITION LLC,                                      :   Case No. 21-22108 (SHL)
                                                               :
                                       Debtor.                 :
                                                               :
---------------------------------------------------------------x

                         NOTICE OF AUCTION AND SALE HEARING

PLEASE TAKE NOTICE OF THE FOLLOWING:

    1. On February 23, 2021 (the “Petition Date”), 96 Wythe Acquisition LLC (the
“Debtor”) commenced the above-captioned case (the “Chapter 11 Case”) by filing a
voluntary petition for relief under title 11 of the United States Code (the “Bankruptcy
Code”) in the United States Bankruptcy Court for the Southern District of New York
(the “Court”). On May 31, 2022, the Court approved the appointment of Stephen S.
Gray as the Chapter 11 Trustee (the “Trustee”) for the Debtor.1

    2. On [_____] [__],October 21, 2022, the Trustee filed a motion (the “Motion”)2
seeking, among other things, entry of an order (the “Bid Procedures Order”) (a)
approving the Auction (as defined below) and the bid procedures (the “Bid
Procedures”) to be used in connection with the sale (the “Sale”) of the Debtor’s assets,
including the Property (collectively, the “Assets”); (b) establishing procedures for the
Trustee to designate a stalking horse bidder or stalking horse bidders with respect to
certain or all of the Assets (each a “Stalking Horse Bidder”) and to enter into a stalking
horse agreement or stalking horse agreements (each, a “Stalking Horse Agreement”)
with a Break-Up Fee and Expense Reimbursement (together, the “Bid Protections”); (c)
establishing certain dates and deadlines for the Sale process, including scheduling an
auction of the Assets (the “Auction”), if necessary, in accordance with the Bid
Procedures, and the hearing with respect to the approval of the Sale (the “Sale
Hearing”); (d) approving the form and manner of notice of the Auction and Sale
Hearing; and (e) approving procedures for the assumption and assignment of executory
contracts and unexpired leases (the “Assumption and Assignment Procedures”)
[Docket No. [__]].752].


1
    Following evidentiary hearings conducted on May 17 and 25, 2022 and post-hearing oral argument
    on May 26, on May 27, 2022 the Court entered its Order Granting Motions to Appoint a Chapter 11
    Trustee [Docket No. 591]. On May 31, 2022, the United States Trustee filed his Notice of Appointment of
    Chapter 11 Trustee [Docket No. 592] and filed an application for an order approving the appointment
    of Stephen S. Gray, as the Chapter 11 Trustee (the “Trustee”) of the estate of the Debtor [Docket No.
    593].
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such
    terms in the Motion, or the Bid Procedures, as applicable.


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21-22108-shl   Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41       Main Document
                                      Pg 80 of 89



   3. On [____] [__], 2022, the Court entered the Bid Procedures Order [Docket No. __].
The Bid Procedures provide as follows:

     a. Auction. If two or more Qualified Bids with respect to all of the Assets are
        received by the Bid Deadline, the Trustee will conduct the Auction to
        determine the highest or otherwise best Qualified Bid with respect to such
        Assets. The Auction will take place at 10:00 a.m. (prevailing Eastern Time)
        on December 6, 2022 (such date, or such other date allowed under these Bid
        Procedures as the Trustee may notify any Qualified Bidder who has submitted
        a Qualified Bid, and counsel to the Secured Lender, the “Auction Date”) and
        be held at a location to be determined. The Auction shall be recorded. Only a
        Qualified Bidder that has submitted a Qualified Bid (including any Stalking
        Horse Bidder or Stalking Horse Bidders) will be eligible to participate at the
        Auction, subject to such limitations as the Trustee may impose in good faith.
        A reasonable number of representatives of the professional advisors of any
        Qualified Bidder will be permitted to attend and observe the Auction. The
        Trustee may, in the exercise of his business judgment, adjourn the Auction.
        Any Qualified Bidder that wishes to take part in this process and submit a bid
        for the Assets must submit their competing Bid prior to the Bid Deadline and
        in accordance with the Bid Procedures. If two or more Qualified Bids are not
        received by the Bid Deadline, the Trustee may, after consulting with the
        Consultation Parties, determine not to conduct the Auction. If only one
        Qualified Bid with respect to a Sale is received by the Bid Deadline, the
        Trustee may, after consulting with the Consultation Parties, select the
        Potential Bidder Purchase Agreement or Stalking Horse Agreement, as
        applicable, of such Qualified Bidder to be the Successful Bid and such
        Qualified Bidder shall be the Successful Bidder with respect to the applicable
        Sale.

     b. Sale Hearing. The hearing to consider approval of the Successful Bid with
        respect to the Sale in accordance with the Bid Procedures (the “Sale Hearing”)
        is scheduled to take place on [December] [16], 20, 2022 at [__]:[__] [_].2:00 p.m.
        (prevailing Eastern Time). At the Sale Hearing, the Trustee will present the
        Successful Bid or Successful Bids to the Court for approval. The Sale Hearing
        may be adjourned by the Trustee in consultation with the Consultation Parties
        and the Successful Bidder, from time to time, upon the filing of a notice of
        adjournment with the Court.

     c. Sale Objection Deadlines. Objections, if any, to the Sale of the Assets free
        and clear of all liens, claims, interests, and encumbrances must: (a) be in
        writing; (b) conform to the applicable provisions of the Bankruptcy Rules, the
        Local Rules, and any orders of this Court; (c) state with particularity the legal
        and factual basis for the objection and the specific grounds therefor; and (d) be
        filed with the Court no later than (i) December 212, 2022 at 45:00 p.m.
        (prevailing Eastern Time), with respect to the proposed Sale of the Assets, or
        (ii) December 1216, 2022 at 4:00 p.m. (prevailing Eastern Time), with respect
        to the Sale of any Assets, and served on: (i) counsel to the Trustee, Togut, Segal
        & Segal LLP, Attn.: Frank A. Oswald, Esq. (frankoswald@teamtogut.com) and
        Amanda C. Glaubach, Esq. (aglaubach@teamtogut.com); and (ii) co-counsel to


                                           3
21-22108-shl    Doc 780     Filed 11/07/22 Entered 11/07/22 16:49:41      Main Document
                                        Pg 81 of 89



         the Secured Lender, Kramer Levin Naftalis & Frankel LLP, Attn.: Adam C.
         Rogoff, Esq. (Arogoff@kramerlevin.com) and Nelson Mullins Riley &
         Scarborough, LLP, Attn.: Lee B. Hart, Esq. (lee.hart@nelsonmullins.com).
         Unless an objection is timely served and filed in accordance with this notice, it
         may not be considered by the Court and the Court may grant the relief
         requested without further hearing and notice.

   4. Key Dates and Deadlines. The key dates for the Sale process are as follows:

                Key Event                                      Deadline

 Bid Deadline                            FridayMonday, December 212, 2022 at 45:00
                                         p.m. (ET)

 Sale Objection Deadline                 FridayMonday, December 212, 2022 at 45:00
                                         p.m. (ET)

 Proposed Assumption / Cure              FridayMonday, December 212, 2022 at 45:00
 Amounts Objection Deadline              p.m. (ET)

 Deadline for Trustee to notify          MondayTuesday, December 513, 2022 at 12:00
 bidders of their status as Qualified    p.m. (ET)
 Bidders

 Auction (if necessary)                  TuesdayWednesday, December 614, 2022 at
                                         1011:00 a.m. (ET)

 File Notice of Successful Bidder        Thursday, December 815, 2022 at 4:00 p.m.
                                         (ET)

 Supplemental Sale Objection             MondayFriday, December 1216, 2022 at 4:00
 Deadline                                p.m. (ET)

 Adequate Assurance of Future            MondayFriday, December 1216, 2022 at 4:00
 Performance Objection Deadline          p.m. (ET)

 Sale Briefing and any Replies           ThursdayMonday, December 1519, 2022 at
                                         12:00 p.m. (ET)

 Sale Hearing                            FridayTuesday, December 1620, 2022 at [___]
                                         [_].2:00 p.m. (ET)

 Deadline for Sale Closing               Friday, December 30, 2022 at [____] [__].m.

                               [Concludes on Following Page]




                                            4
21-22108-shl   Doc 780   Filed 11/07/22 Entered 11/07/22 16:49:41       Main Document
                                     Pg 82 of 89



   5. Conclusion. This notice (the “Sale Notice”) and any Sale Hearing are subject to
      the fuller terms and conditions of the Motion and the Bid Procedures Order,
      which shall control in the event of any conflict, and the Trustee encourages
      parties in interest to review such documents in their entirety. Parties interested
      in receiving more information regarding the Sale of the Debtor’s Assets or copies
      of any related document, including the Motion or the Bid Procedures Order, may
      make a written request to counsel to the Trustee, Togut, Segal & Segal LLP, Attn.:
      Frank A. Oswald, Esq. (frankoswald@teamtogut.com) and Amanda C. Glaubach,
      Esq. (aglaubach@teamtogut.com). In addition, copies of the Motion, the Bid
      Procedures Order, and this Sale Notice can be found on the Court’s website at
      https://www.nysb.uscourts.gov in accordance with the procedures and fees set
      forth therein.

DATED: New York, New York
       [______] [___], 2022

                                               STEPHEN S. GRAY
                                               Not Individually But Solely in His
                                               Capacity as Chapter 11 Trustee
                                               By His Attorneys,
                                               TOGUT, SEGAL & SEGAL LLP
                                               By:

                                                DRAFT
                                               ALBERT TOGUT
                                               FRANK A. OSWALD
                                               BRYAN M. KOTLIAR
                                               AMANDA C. GLAUBACH
                                               One Penn Plaza, Suite 3335
                                               New York, New York 10119
                                               (212) 594-5000




                                           5
21-22108-shl   Doc 780   Filed 11/07/22 Entered 11/07/22 16:49:41   Main Document
                                     Pg 83 of 89



                                     Exhibit 3

                           Contract Assumption Notice
21-22108-shl        Doc 780       Filed 11/07/22 Entered 11/07/22 16:49:41              Main Document
                                              Pg 84 of 89



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re:                                                         :   Chapter 11
                                                               :
96 WYTHE ACQUISITION LLC,                                      :   Case No. 21-22108 (SHL)
                                                               :
                                       Debtor.                 :
                                                               :
---------------------------------------------------------------x

                     NOTICE OF PROPOSED ASSUMPTION
             AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS

               PLEASE TAKE NOTICE OF THE FOLLOWING DEADLINES:

      Cure Objection Deadline: On or before December 212, 2022 at 45:00 (prevailing
Eastern Time), or such deadline set forth in the applicable Supplemental Assumption
Notice.

      Deadline for objections to the proposed assumption and assignment of an
Assigned Contract solely with respect to (i) the identity of the Successful Bidder
adequate assurance of future performance of the applicable Successful Bidder or
Successful Bidders or (ii) adequate assurance of future performance provided by the
Successful Bidder or Successful Bidders shall be December 1216, 2022 at 4:00 p.m.
(prevailing Eastern Time) (the “Supplemental Sale Objection Deadline”).

PLEASE TAKE NOTICE OF THE FOLLOWING:

1. On February 23, 2021 (the “Petition Date”), 96 Wythe Acquisition LLC (the
   “Debtor”) commenced the above-captioned case (the “Chapter 11 Case”) by filing a
   voluntary petition for relief under title 11 of the United States Code (the
   “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District
   of New York (the “Court”). On May 31, 2022, the Court approved the appointment
   of Stephen S. Gray as the Chapter 11 Trustee (the “Trustee”) for the Debtor.1

2. On [_____] [__],October 21, 2022, the Trustee filed a motion (the “Motion”)2 seeking,
   among other things, entry of an order (the “Bid Procedures Order”) (a) approving
   the Auction (as defined below) and the bid procedures (the “Bid Procedures”) to be

1
    Following evidentiary hearings conducted on May 17 and 25, 2022 and post-hearing oral argument
    on May 26, on May 27, 2022 the Court entered its Order Granting Motions to Appoint a Chapter 11
    Trustee [Docket No. 591]. On May 31, 2022, the United States Trustee filed his Notice of Appointment of
    Chapter 11 Trustee [Docket No. 592] and filed an application for an order approving the appointment
    of Stephen S. Gray, as the Chapter 11 Trustee (the “Trustee”) of the estate of the Debtor [Docket No.
    593].
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such
    terms in the Motion, or the Bidding Procedures, as applicable.


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21-22108-shl   Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41       Main Document
                                      Pg 85 of 89



   used in connection with the sale (the “Sale”) of the Debtor’s assets, including the
   Property (collectively, the “Assets”); (b) establishing procedures for the Trustee to
   designate a stalking horse bidder or stalking horse bidders with respect to certain or
   all of the assets (each a “Stalking Horse Bidder”) and to enter into a stalking horse
   agreement or stalking horse agreements (each, a “Stalking Horse Agreement”) with
   a Break-Up Fee and Expense Reimbursement (together, the “Bid Protections”);
   (c) establishing certain dates and deadlines for the Sale process, including
   scheduling an auction of the Assets (the “Auction”), if necessary, in accordance with
   the Bid Procedures, and the hearing with respect to the approval of the Sale (the
   “Sale Hearing”); (d) approving the form and manner of notice of the Auction and
   Sale Hearing; and (e) approving procedures for the assumption and assignment of
   executory contracts and unexpired leases (the “Assumption and Assignment
   Procedures”) [Docket No. [__]].752].

3. On [_____] [__], 2022, the Court entered the Bid Procedures Order [Docket No. [__].
   Pursuant to the Bid Procedures Order, the Trustee hereby provides notice that the
   Debtor is seeking to assume and assign to a Successful Bidder or Successful Bidders
   in connection with the Sale the executory contracts or unexpired leases (each, an
   “Assigned Contract”) listed on Exhibit A attached hereto.

4. If the Trustee assumes and assigns to a Successful Bidder or Successful Bidders an
   Assigned Contract to which you are a party, on the closing date of the Sale, or as
   soon thereafter as practicable, such Successful Bidder or Successful Bidders will pay
   you the amount the Trustee’s records reflect is owing for prepetition arrearages as
   set forth on Exhibit A (the “Cure Payment”). The Trustee’s records reflect that all
   postpetition amounts owing under your Assigned Contract have been paid and will
   continue to be paid until the assumption and assignment of the Assigned Contract,
   and that other than the Cure Payment, there are no defaults under the Assigned
   Contract. Cure Payment amounts that include postpetition balances that are paid
   shall be reduced accordingly.

5. The Trustee’s inclusion of an executory contract or unexpired lease as an Assigned
   Contract on Exhibit A is not a guarantee that such executory contract or unexpired
   lease will ultimately be assumed and assigned to any Successful Bidder or
   Successful Bidders. Should it be determined that an Assigned Contract will not be
   assumed and assigned, the Trustee shall notify such party to the Assigned Contract
   in writing of such decision.

6. Under the terms of the Bid Procedures Order, the Trustee may modify the list of
   Assumed Contracts on Exhibit A until consummation of the Sale, and the Trustee
   reserves the right, but only in accordance with the Successful Bidder Purchase
   Agreement or any Stalking Horse Agreement, as applicable, or as otherwise agreed
   by the Trustee and the Successful Bidder or Successful Bidders, at any time before
   the deadline for designation of additional Assigned Contracts or removal of
   potentially Assigned Contracts set forth in the Successful Bidder Purchase
   Agreement or any Stalking Horse Agreement, to (i) supplement the list of Assigned
   Contracts with previously omitted executory contracts, (ii) remove Assigned
   Contracts from the list of executory contracts ultimately selected as Assigned
   Contracts that a Successful Bidder proposes be assumed and assigned to it in


                                           3
21-22108-shl    Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41         Main Document
                                       Pg 86 of 89



   connection with a Sale, or (iii) modify the previously stated Cure Payment
   associated with any Assigned Contracts. In the event the Trustee exercises any of
   these reserved rights, the Trustee will promptly serve a supplemental notice of
   contract assumption (a “Supplemental Assumption Notice”) on each of the
   counterparties to such contracts and their counsel of record, if any, and the
   Consultation Parties; provided, however, the Trustee may not add an executory
   contract to the list of Assigned Contracts that has been previously rejected by the
   Trustee by order of the Court. Each Supplemental Assumption Notice will include
   the same information with respect to the list of Assigned Contracts that was
   included in the Contract Assumption Notice, or in the event of removal, information
   required in a Removal Notice. Any Supplemental Assumption Notice will be served
   as soon as reasonably practicable following the Successful Bidder’s identification of
   any such omissions, removals, or modifications to any Assigned Contracts, but not
   later than 24 hours following notice to the Trustee of such omissions, removals, or
   modifications.

7. Any objection to the proposed assumption and assignment or the Cure Payment
   proposed with respect thereto, must (i) be in writing, (ii) comply with the applicable
   provisions of the Bankruptcy Rules and the Local Rules, (iii) state with specificity
   the nature of the objection and, if the objection pertains to the proposed amount of
   the Cure Payment, the correct cure amount alleged by the objecting counterparty,
   together with any applicable and appropriate documentation in support thereof,
   and (iv) be filed with the Court and served upon, so as to be actual received by
   counsel to the Trustee and counsel to the applicable Successful Bidder (if such
   counsel is known), as applicable, on or before December 212, 2022 at 45:00 p.m.
   (prevailing Eastern Time) (the “Cure Objection Deadline”), or such deadline set
   forth in the applicable Supplemental Assumption Notice. Notwithstanding
   anything to the contrary in these Assumption and Assignment Procedures, if the
   Trustee makes any reduction to a proposed Cure Payment or designates any
   Additional Assigned Contracts, the Trustee will provide at least seven days’ notice
   of any applicable Cure Objection Deadline if the relevant Contract Assumption
   Notice of Supplemental Assumption Notice is served by email or overnight mail,
   and at least ten days’ notice of any applicable Cure Objection Deadline if the
   relevant Contract Assumption Notice of Supplemental Assumption Notice is served
   by first class mail.

8. The deadline for objections to the proposed assumption and assignment of an
   Assigned Contract solely with respect to (i) the identity of the Successful Bidder or
   Successful Bidders or (ii) adequate assurance of future performance provided by the
   Successful Bidder or Successful Bidders shall be the Supplemental Sale Objection
   Deadline. Any objections must (1) be in writing, (2) comply with the applicable
   provisions of the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules, and
   (3) state with specificity the nature of the objection, and, if the objection pertains to
   the proposed amount of the Cure Payment, the correct cure amount alleged by the
   objecting counterparty, together with any applicable and appropriate
   documentation in support thereof.

9. If an objection to the Cure Payment or assumption and assignment is timely filed
   and not resolved by the parties, a hearing will take place at the Sale Hearing at


                                             4
21-22108-shl    Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41        Main Document
                                       Pg 87 of 89



   [__]:[__] [_].2:00 p.m. (prevailing Eastern Time) on December [16],20, 2022, or at a
   later hearing, as determined by the Trustee. A hearing regarding the Cure Payment,
   if any, may be continued at the discretion of the Trustee and the applicable
   Successful Bidder or Successful Bidders until after the closing of the Sale.

10. Any party failing to timely file an objection to the proposed Cure Payment, the
    proposed assumption and assignment of an Assigned Contract or Additional
    Assigned Contract listed on a Contract Assumption Notice or Supplemental
    Assumption Notice, or the Sale is deemed to have consented to (a) such Cure
    Payment, (b) the assumption and assignment of such Assigned Contract or
    Additional Assigned Contract (including the adequate assurance of future
    payment), (c) the related relief requested in the Motion, and (d) the Sale. Such party
    shall be forever barred and estopped from objecting to the Cure Payments, the
    assumption and assignment of the Assigned Contract, the Additional Assigned
    Contract, adequate assurance of future performance, the relief requested in the
    Motion, whether applicable law excuses such counterparty from accepting
    performance by, or rendering performance to, the Successful Bidder or Successful
    Bidders for purposes of section 365(c)(1) of the Bankruptcy Code and from asserting
    any additional cure or other amounts against the Trustee and the Successful Bidder
    or Successful Bidders, as applicable, with respect to such party’s Assigned Contract
    or Additional Assigned Contract.

11. After the Auction, the Trustee will file and serve as set forth in the Bid Procedures, a
    notice that identifies the Successful Bidder or Successful Bidders. The Trustee or any
    Successful Bidder reserve all of their rights, claims, and causes of action with respect
    to the contracts and agreements listed on Exhibit A hereto. Notwithstanding
    anything to the contrary herein, the proposed assumption and assignment of each of
    the Assigned Contracts listed on Exhibit A hereto (a) shall not be an admission as to
    whether any such Assigned Contract was executory or unexpired as of the Petition
    Date or remains executory or unexpired postpetition within the meaning of section
    365 of the Bankruptcy Code; and (b) shall be subject to the Trustee’s or any
    Successful Bidder’s right to conduct further confirmatory diligence with respect to
    the Cure Payment of each Assigned Contract and to modify such Cure Payment
    accordingly. In the event that the Trustee or the Successful Bidder determines that
    your Cure Payment should be modified, you will receive a notice, which will
    provide for additional time to object to such modification.

12. Any party desiring to receive any notices served by the Trustee in connection with
    the Sale process may make a written request to counsel to the Trustee, Togut, Segal
    & Segal LLP, Attn.: Frank A. Oswald, Esq. (frankoswald@teamtogut.com) and
    Amanda C. Glaubach, Esq. (aglaubach@teamtogut.com). In addition, copies of the
    Motion, the Bid Procedures Order, and this Sale Notice can be found on the Court’s
    website at https://www.nysb.uscourts.gov in accordance with the procedures and
    fees set forth therein.

13. Counterparties to any Assigned Contracts may submit their email addresses to the
    Trustee’s counsel, pursuant to paragraph 12 hereof to receive service via email of
    any of the following, to the extent so requested by email:



                                             5
21-22108-shl   Doc 780    Filed 11/07/22 Entered 11/07/22 16:49:41       Main Document
                                      Pg 88 of 89



   a. Upon the designation of any Stalking Horse Bidder, (i) the identity of any such
      Stalking Horse Bidder, (ii) whether the counterparty’s Assigned Contract is
      contemplated to be assumed and assigned under such Stalking Horse
      Agreement, and (iii) any such Stalking Horse Bidder’s non-confidential financial
      information within 24 hours of entry into any such Stalking Horse Agreement;
      provided that any Stalking Horse Bidder may be permitted to add or remove
      Assigned Contracts under the applicable Stalking Horse Agreement pursuant to
      the Assumption Procedures.

   b. The identity of all Qualified Bidders that submit Bids by the Bid Deadline, by no
      later than [__]:[__] p.m. (prevailing Eastern Time) on [___] [__], 2022, and in all
      events as soon as practicable after they are determined by the Trustee to be a
      Qualified Bidder, but no more than 12 hours after such determination; along
      with (ii) any non-confidential financial information included with the applicable
      Qualified Bid; and (iii) only if the Qualified Bidder agrees, a contact email
      address for each Qualified Bidder for the contract counterparty to be able to use
      to contact such Qualified Bidder if they have any questions for the Qualified
      Bidder; and

   c. (i) the identity of any Successful Bidder, (ii) whether the counterparty’s Assigned
      Contract is contemplated to be assumed and assigned under any Successful
      Bidder Purchase Agreement if and when known, and (iii) any non-confidential
      financial information from any such Successful Bidder as soon as practicable
      after the Auction, but no later than [__]:[__] (prevailing Eastern Time) on [___]
      [__], 2022.



                              [Concludes on Following Page]




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21-22108-shl   Doc 780   Filed 11/07/22 Entered 11/07/22 16:49:41   Main Document
                                     Pg 89 of 89



DATED: New York, New York
       [______] [___], 2022

                                            STEPHEN S. GRAY
                                            Not Individually But Solely in His
                                            Capacity as Chapter 11 Trustee
                                            By His Attorneys,
                                            TOGUT, SEGAL & SEGAL LLP
                                            By:

                                            DRAFT
                                            ALBERT TOGUT
                                            FRANK A. OSWALD
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